                                 SCHEDULE A

First Name    Last Name
Thomas        Abate III
Haydar R      Abdaljalil
Abdelrahman   Abdelrahman
Tarek         Abdelrahman
Mohammed      Abduljaleel
Paul E        Abel
Giovanni      Abreu
Moises        Abreu
Christian     Abreu
Mencia        Abreu‐Ferrer
Miguel A      Abreu‐Quinones
Sergio        Abreu‐Tiburcio
Angela        Acevedo
Daniel        Acevedo
Eliezer       Acevedo
Lenin         Acevedo
Luis          Acevedo
Marilyn       Acevedo
Roberto       Acevedo
Michael       Acevedo
Jaime         Acevedo Jr
Juan          Acevedo‐De Jesus
Austin        Achey
Bryan         Achey
Jason         Achey
Kevin         Achey
Gerald        Acker Jr
Jason S       Ackerman
Jessica       Acosta
Elena         Acosta
Johanna       Acosta
Milton        Acosta
Christhian    Acosta‐Hician
Nannette      Acosta‐Perez
Christopher   Adam
Gary          Adam
Kenneth       Adam
Lonnie        Adam
Nancy         Adam
Robert        Adam
Scott         Adam
Daniel        Adam
Ruth          Adam


                                     1
                               SCHEDULE A

First Name   Last Name
Alejandra    Adame
Fernando     Adame
Herendira    Adame
Yenitza      Adame
Melquiades   Adame‐Barajas
Francisco    Adames
Joseph       Adames
Kaybee       Adames
Winston R    Adames
Andrew       Adams
Charles      Adams
Kevin        Adams
Linda M      Adams
Michael      Adams
Paul T       Adams
Randolph     Adams
Todd         Adams
Dustin       Adams
Jamie        Adams
Mark         Adams
Megan        Adams
Michael      Adams
Raymond      Adams
William      Adams
Lyle         Adams
Nahiomi      Adorno‐Motta
Javier       Afanador
Anna         Afanador
Cynthia      Agelwei
Felix        Agosto
Jonathan     Agosto
Miriam       Agosto
Pedro        Agosto
Christian    Agosto‐Diaz
Steven       Agosto‐Diaz
Luz M        Agramonte
Tania        Aguasvivas
Homero       Aguasvivas‐Gasl
Juan         Aguayo
Juanita      Aguilar
Jonathan     Aguilar
Michelle     Aguilar
Alejandro    Aguilera


                                   2
                                 SCHEDULE A

First Name    Last Name
Diana         Aguilera
Abel          Aguilera‐Lemus
John          Ahn
Brahim        Akharzous
Ada           Alamo
Krisaliz      Alamo
Joan          Alamo
Emanuel       Alamo‐Colon
Rosa          Alamonte
Edward        Alamo‐Ortiz
Eliezer       Albaladejo‐Otero
Miguel        Albarran jr
Alberto       Albino
Lourdes       Albino
Jose          Albino‐Lopez
Julio         Albino‐Lopez
Brett         Albright
Diane L       Albright
Terry         Albright
Thomas        Albright
Jared         Albright
Kenneth       Albus Jr
Jennifer      Alcala
Hector        Alcantara
Luis          Alcantara
Marcos        Alcantara
Reynaldo      Alcantara
Jose          Alcantara‐Moret
Rogeste       Alcin
Dace          Alderfer
Jennifer L    Aldinger
Jonathan      Alejandro‐Virue
Corey         Alexander
Eric          Algeo
Alex G        Alicea
Antonio       Alicea
Christopher   Alicea
Frances       Alicea
Jose          Alicea
Kasey M       Alicea
Carmen        Alicea
Anthony V     Aliota
Clinton       Allen


                                     3
                                 SCHEDULE A

First Name    Last Name
Holly         Allen
James         Allen
Jonathan      Allen
Victor        Allende‐Barron
Kamari        Allman
Jamie         Allmond
Christina M   Alloggio
Gretta        Almanzar
Alejandro     Almanzar
Kelmarys      Almodovar
Luis          Almodovar
Jose          Almodovar
Hilary        Almodovar‐Cruz
Todd B        Almond
Harry         Almonte
Maria M       Almonte
Marlene       Almonte
Lugi          Almonte Guzman
Xavier        Almonte‐Rodrigu
Melanie       Aloan
Philip        Altomare III
Jose          Alvarado
Yostin        Alvarado
Juan          Alvarado‐Grande
Frank         Alvarado‐Hernan
Gerardo       Alvarado‐Rosado
Bryan A       Alvarado‐Salazar
Alvin         Alvarez
Dakota        Alvarez
Hiliana       Alvarez
Harry         Alvarez
Raymond       Alvarez
Jose          Alvarez III
Anthony       Alvarez Jr.
Elena         Alvarez‐Cruz
Glendalee     Alvarez‐Garcia
Jacqueline    Alvarez‐Perez
Angel         Alvarez‐Torres
Esmarlen      Alvarez‐Zambrano
Raymond       Alverio‐Vergara
Ricardo       Alvila‐Garcia
Betsaida      Alvira
Samuel        Amaro‐Santana


                                     4
                               SCHEDULE A

First Name   Last Name
Joshua       Ambearle
Harith A     Ameen
Girma        Amenu
Joseph D     Amole
Kevin        Anavitate
Scott        Anders
John         Anderson
Ryan         Anderson
Edward S     Anderson Jr
John         Andes Jr
Duke         Andrade
Alexander    Andre
Charles      Andrefski
Devon        Andrew
Colton       Andrews
Kevin        Andrews
Lucas E      Andrews
Moises       Angeles
Wender       Angeles‐Chuquil
Amanda       Angstadt
Andy         Angstadt
Brian        Angstadt
Craig        Angstadt
Daniel       Angstadt
David        Angstadt
James        Angstadt
Jason        Angstadt
Jeremy       Angstadt
Kevin        Angstadt
Tracy L      Angstadt
Zachary      Angstadt
Charles      Anokye
Jacob        Ansel
Ian          Antonition
Mark         Antonocci
Joseph       Antosy
Paul J       Anzulewicz
Angel        Aponte
Stephanie    Apostolou
Mark         Applegate
William      Apsokardu II
Homero J     Aquasvivas‐Gasl
Javier       Arana‐Cruz


                                   5
                               SCHEDULE A

First Name    Last Name
Victor        Arango
Diana         Araujo
Wesley P      Arbogast
Christopher   Arce‐Barrios
George        Archie
David         Ardnt
Richard D     Arechiga
Olga          Arenas
George        Arentz
Jensen        Ares‐Alvarez
Rafael        Arguinzoni
Steven        Arias
Richard       Arias
Elizabeth     Arias‐Garcia
Katherine     Ariza Reyes
Edell         Arman‐Santiago
Eric          Arms
David         Armstrong
Michael A     Armstrong JR
Bradley       Arndt
Joshua        Arndt
Meri          Arndt
Zachary       Arndt
Myron         Arndt III
Anita         Arner
Gregory       Arnold
Herison       Arocho
Justin        Arredondo
Jessica       Arroyo
Lizbeth       Arroyo
Mayde         Arroyo
Usbaldo       Arroyo
Noel          Arroyo‐Diaz
William       Arroyo‐Morales
Cody          Arsenault
Teresa        Arteaga
Samuel        Asante
Harriet       Asante
Emmanuel      Asare
Shyneece T    Asberry
Andrew        Asbury
James         Ash
Sarah         Ash


                                   6
                              SCHEDULE A

First Name    Last Name
Ariel         Asjana
Lahcen        Assou
Dana          Aston
Michael       Aston
William       Aston
Brandon       Atay
Koffi         Attiogbe
Joseph        Auchenbach
Jean          Auclair
Mahlon        Auker
Warren        Aul
Michael       Aulenbach
Andrew        Aungst
Exain         Avalos
Daria         Avalos‐Emmel
Ronnie        Avate
Jose          Avelino
Jaime         Avila
Kevin         Avila‐Coello
Ricardo       Avila‐Garcia
Cesar         Aviles
Juan          Aviles‐Aquino
Alonzo        Ayala
David         Ayala
Yharoham      Ayala‐Torres
Kent          Ayers
Ancil         Aziz
Kelly         Azuber
Christopher   Azzarito
Dean          Babb
William       Bach IV
Adam          Bachert
Chad          Bachert
Neil          Bachert
Terry         Bachert
Brianne V     Bachman
Charlotta     Bachman
Cody          Bachman
Dean          Bachman
Hunter        Bachman
L Russell     Bachman
Peter         Bachman
Thomas        Bachman


                                  7
                               SCHEDULE A

First Name    Last Name
Toby          Bachman
Tyler         Bachman
Kelly         Bachman
Robert        Bachman
Jose          Bacilio
Jeffrey       Bacon
Andrew        Badillo
Brendaliz V   Baez
Charles       Baez
Elias         Baez
Jacqueline    Baez
Jeudis        Baez
Johan         Baez
Richard       Baez Jr.
Katherine     Baez‐Cintron
Yordany       Baez‐Paulino
Eric          Baez‐Santiago
Carolin       Baez‐Sepulveda
Joshua        Baez‐Vargas
James         Bagenstose
Brian D       Bailey
Debbie A      Bailey
Kyle          Bailey
Michael       Bailey
Randy         Bailey
Taylor        Bailey
Bart          Bailey
Viki          Bailey
Elgin C       Bailey Jr
Norman        Bailey Jr.
Harry         Bair III
Diana         Baker
Kale A        Baker
Karen         Baker
Thomas        Baker
Karen         Baker
Ronald        Baker
Richard       Baker Jr.
Gabriela L    Balazs
Laszlo        Balazs
Emilsem       Balbuena
Avondre K     Baldwin
Krista        Baldwin


                                   8
                           SCHEDULE A

First Name   Last Name
Mocha        Baldwin
Bruce P      Balliet
Andrew       Baloga
Joshua       Balseiro
Linda        Balthasar
Austin N     Balthaser
Darryl       Balthaser
Linda        Balthaser
Tara M       Balthaser
Edward       Balukas
Stephen      Bandzi
Michael      Bankowski
Charles L    Banzet
Anthony      Barbaro
Michael      Barber
Spencer      Bare
Edwin        Baret
Ruben        Baret
Nicholas     Bariana
Kyle         Barker
Andrew S     Barlet
Donna L      Barlet
Elise M      Barlet
Olivia       Barlet
Randolph S   Barlet
Raymond      Barlet
Steven D     Barlet
Thomas       Barlet
Tammy        Barlet
Edwin        Barnhart
Cindy        Barr
Cesar        Barreau
Jean         Barreau
Jean         Barreau Jr.
Arturo       Barrera
Michael      Barrett
Saad         Barrie
George       Barthold
Kenneth      Bartholomew
Donna        Bartlet
Matthew      Bartman
Samuel F     Bartman III
Willard      Barto Jr


                               9
                                SCHEDULE A

First Name    Last Name
Gary          Barton
Francisco     Basilio‐Ceballo
Elisha        Baskerville
William S     Bast
Cheryl        Bates
Joshua        Bates
Scott         Bates
Deven         Bates‐Moseley
Jose          Batine
Edward        Batista
Max           Batista
Rosa M        Batista
Ruben         Batista
Victor        Batista
Christopher   Battle
Harry         Battle Jr.
Robert L      Batts
David J       Bauer
Mark          Bauer
Starr         Bauer
Brandon       Baughman
Christopher   Baumann
Matthew       Baumann
Alicia        Baumener
Brian         Baur
Steven        Bauscher
Shawn         Bausher
Jose          Bautista
Joshua        Bayda
Justin        Bayda
Eric          Baylor
Joshua        Bayo
William       Bealer III
Tyler         Beamenderfer
Toni          Bean
Ethan         Beard
Geoffrey      Beatrice
Nichole M     Beavens
Claude        Beaver
Randy         Beaver
Daniel        Bechtel
Dustin        Bechtel
Larry         Bechtel


                                    10
                         SCHEDULE A

First Name   Last Name
Thomas       Bechtel
Arlan        Bechtel
Justin       Bechtel
Barry        Beck
Dwight       Beck
Kenneth S    Beck
Linda        Beck
Stephen      Beck
Kevin        Becker
Matthew      Becker
Ryan         Becker
Steven       Becker
Timothy      Becker
Larry        Becker
Barry        Beckford
Donald       Beckford
Malachi      Beckner
Seth J       Bednar
Lewis        Beebe
Jeffrey      Beeman
Kyle M       Behler
Rodney       Behler
Ruth P       Behm
Timothy A    Behm
Daniel       Behm
Keith        Behm Jr.
David        Behrle
Ben          Beidleman
Brian        Beidler
Briana       Beidler
Justin       Beidler
Michael A    Beidler
Timothy      Beidler
Barry        Beilhart
Kevin        Beilhart
Derek        Beitler
Kofi         Belcon
Abdelghani   Belefkih
Nygel        Belizaire
Richard      Bell
Tara         Bell
Tyler        Bell
Joshua       Bell


                             11
                            SCHEDULE A

First Name   Last Name
Jazmon       Bell Moll
Michelle     Bello Lopez
Cody         Belmont
Lavell       Belton
Michelle     Beltran‐Soto
Jacobo       Bencosme
Jonathan     Bender
Tammy        Benderawicz
Timothy      Benedick
Maximo       Benitez
Roberto      Benitez
Ramon        Benitez Jr
Christy M    Benjamin
Connie       Benjamin
Kevin L      Benn
Randy        Bennecoff
Kenneth      Benner
Paul M       Bennethum
Greg         Bennicoff
Daniel       Bennis
David        Bensinger
Barry        Benson
Wendy L      Benson
Zachariah    Benson
Michael      Benson II
Brian        Bensten
Derrick      Benton
Richard      Bercek
Darwin       Berdecia
Joseph       Berends
Adam         Berg
Craig        Berg
Jonathan     Bergen
Daniel       Bergen
Andrew       Berger
Carol L      Berger
Hope         Berger
Janet        Berger
Jason        Berger
Michael      Berger
Patricia     Berger
Terry        Berger
Troy         Berger


                                12
                               SCHEDULE A

First Name    Last Name
Bruce         Berger
Charles       Berger
Glenn         Berger
Brandon       Berger‐Merca
Abraham       Berges
Robert        Berghold
Jerry L       Berk
Kenneth       Berk
Joshua        Bermudez
Bryan         Bernal
Dario         Bernard
Raymond       Berrier
Andrew        Bertha
Jodi          Bertha
Stephen       Bertha
Kristina      Bertsch
Jason         Beshore
Lucas         Beshore
Christopher   Best
Gary          Best
Eduardo       Betancourt
Brook         Betts
Chad          Betts
Cory          Bibian
Dennis        Bieber
Joshua        Bieling
Kevin S       Bierman
Timothy       Biggs
Gary          Bilansky
William       Bildheiser Sr.
Martin L      Billger
El Noah       Billig
Kendall       Billig
Robin         Billig
Brandon       Billig
Thomas        Biltcliff III
Beth          Binder
Chris         Binkley
Kyle          Birckbichler
Brandon       Birmingham
Robin         Bishop
Ryan          Bishop
Jaryd T       Bittner


                                   13
                                 SCHEDULE A

First Name      Last Name
Larry C         Bittner
Richard         Bittner
Dennis          Bittner
Patricia        Bittner
Kelsey          Bixler
Brad            Bixler
Owen            Bixler IV
Daniel R        Black
Harry           Blair III
Keith           Blank
Brian K         Blankenbiller
Brianne         Blankenbiller
Brian           Blatt
Dolores A       Blatt
Jordan          Blatt
Michael E.      Blatt
Lou             Bleiler
Paul            Bleiler III
Jonathan        Blessing
Troy            Blessing
Vatoya          Blessing
Joshua          Blessing
Terry           Blose
Shawn           Blunt
John            Bo
Ernest          Boakye
John            Bobb
Brandon         Bobbin
Philip          Bocanovich
Evan            Boddice
Scott           Bodenberg
Jacob           Boehm
David           Boger
Melinda S       Bogert
Reed            Bogosh
Christopher R   Bohn
Dale            Bohning
Richard         Bohr
Gabriel         Bolanos‐Flores
Justin          Bollen
Ernest          Bollinger
Eric            Bolton
Justin          Boltz


                                     14
                          SCHEDULE A

First Name   Last Name
Nicholas     Boltz
Sonia        Bonet
David        Bonia
Alfredo      Bonilla
Carmen       Bonilla
Gregory      Bonilla
Jose         Bonilla
Miosoti      Bonilla
Scott        Bonser
Aaron        Borden
James        Borden
Michael      Borden
Kevin        Border
John         Border III
David        Bordner
Kollin       Bordner
Lori         Borelli
David L      Boria
Joseph       Borkey
Hicham       Borma
Bruce        Borman
Mathew       Borman
Eric         Borowy
Eric J       Borre
Ivan         Borre
Beth         Bortz
Dillon       Bortz
Dylan        Bortz
Erik         Bortz
Joshua       Bortz
Darlakay     Bossler
Melinda      Bossler
April        Bossler
Aigner       Boston
Daniel       Bostwick
Daniel       Bourizk
Eugene       Bower
Nicholas     Bower
Scott        Bower
Earl         Bower
Charles      Bowers
Jeffrey      Bowers
Brady        Bowlin


                              15
                             SCHEDULE A

First Name    Last Name
John          Bowlin
Larry         Bowman
Travis        Bowman
Wanda         Bowman
Wesley        Bowman
Nathan        Boyd
Eric          Boyd
Jacob         Boyd
Shawn         Boyd
Barry         Boyer
Cody          Boyer
Connie L      Boyer
James         Boyer
Jason         Boyer
Jeffrey       Boyer
Jeremy        Boyer
Jonathan      Boyer
Keith         Boyer
Mark          Boyer
MaryAnn       Boyer
Matthew       Boyer
Michael       Boyer
Sheldon       Boyer
Stevem        Boyer
Todd          Boyer
Troy          Boyer
Bradley       Boyer
Karla M       Boyer
Ryan          Boyle
Matthew       Bracci
Allen         Bracy
Cynthia       Bradley
Galen         Bradley
Alexander W   Brady
Kaitlin       Brady
Michael       Brady
Michael       Bramm
Erik          Brangalis
Bruno         Brango
Justin J      Bredbenner
David         Breidenstein
Philip        Breidenstein
Richard       Breiner


                                 16
                                SCHEDULE A

First Name   Last Name
Robert       Breiner
Ronald       Breiner Jr
Nathan E     Breininger
Dennis       Breitenstein Jr.
Edward       Breitigan
Evhelyn      Brena
Gary         Brendle
John         Brensinger
Nicholas     Brensinger
Penny L      Brensinger
Yensi        Breton
Laurence     Brewer
Raymond      Brey
Charles W    Bridgen
Jeffrey      Briggs Jr
Bryce        Brinkley
Melissa      Brintzenhoff
Paul         Brintzenhoff
Paul         Briscoe
Jorge        Brisita
Jason        Bristow
Alberto      Brito
Christian    Brito
Jason        Brixter Jr
Doris F      Brobst
Karen        Brode
Joshua       Bromley
Lennox       Brooks
Alec         Brossman
Eric         Brossman
Eric J       Brothers
Ryan         Brotzman
Christian    Brown
Destin       Brown
Jared        Brown
Jesse        Brown
Joshua       Brown
Lawrence     Brown
Lorraine     Brown
Mark         Brown
Taylor A     Brown
Timothy      Brown
Matthew      Brown


                                    17
                                SCHEDULE A

First Name    Last Name
Michael       Brown
Anthony       Brown Jr
Paul          Bruchez
Dylan         Brugger
John          Brugger Jr
Jody          Brunner
Jeffrey       Brunner
Marcia        Bruno
Anthony       Bruno
Nathan        Bruns
Kyle R        Bryan
Derek         Bry‐Nildsen
Zachary       Bubbenmoyer
Molly         Buchanan
Brian         Bucher
Joseph        Buchert
Sandra L      Buchert
Ronald        Buchter Jr.
Corey         Buck
Jeffory L     Buck
Robert        Buck
Trevor        Buck
Edward A      Buckland
Leroy         Buckmire Jr.
Steven        Buckner
Hairo         Bueno
Albert        Buffington
Brian A       Buller
Nicholas      Bunch
Nicholas      Buono
Douglas       Burgert
Christopher   Burgess
William       Burgess
Andrew        Burgess
Arnaldo       Burgos
Johnlee       Burgos
Rosamariel    Burgos
William       Burgos
Joanne        Burgos
Suheide       Burgos
Nelson        Burgos Jr.
Julio         Burgos Jr.
Dominique J   Burgos‐Figueroa


                                    18
                               SCHEDULE A

First Name   Last Name
Victor       Burgos‐Gonzalez
Fernando     Burgos‐Suarez
Keith        Burkert
Krystin      Burkert
Michael      Burkert
Nathan       Burkert
Timothy      Burkert
Marvin F     Burkert Jr
Julie L      Burkevage
Peter R      Burkhardt Jr
Justin M     Burkhart
Trenton      Burkhart
Tyler        Burkhart
Robert       Burkle
Joshua       Burns
Julie A      Burns
Ryan         Burns
Marquiche    Burton
Jason        Busch‐Hodgson
Eric         Bush
Jason        Bush
Justin       Bush
Dannie R     Bushaw
Scott        Buskaritz
Scott        Buss
Mariano      Bustillo‐Sobalv
James        Butler
Paul         Butler
Shawn        Butler
Paul         Butler
David        Butz
Steve R      Butz
Nathan       Buzinski
Nathan       Buzzard
Richard      Byerly Jr.
Dexis        Caba
Francisco    Caba
Sydney       Caba
 John        Caba‐Aquino
Daniel       Caballero
Adam         Cable
Anabel       Cabral
Juan         Cabral‐Guante


                                   19
                                  SCHEDULE A

First Name   Last Name
Jose R       Cabreja
Jimmy        Cabrera
Maribel      Cabrera
Yosue        Cabrera‐Morales
Joseph I     Cabrera‐Tejada
Adriana      Cadavid
Edwin        Cadavid
Dorian P     Cadena
Thomas       Caine
Mark         Calafati
Robert       Calamaro
Jose         Calderon
Paula        Calderon‐Calder
Jose         Calderon‐Molina
Saundra M    Caldwell
Mark         Callender
Paul         Callender
Shomar       Callender
Michael      Calpino
Dominic      Calvaresi
Henry        Calvo
Franklin     Camacho
Marielena    Camacho
Steven       Camilli
Angel        Camis
Maurice      Cammon
Lucio        Campanur‐Sanchez
Joseph       Campbell
Prospero     Campo
Jose         Campos
Javier       Camposano Jr.
Cesar        Campos‐Quinones
Kevin        Canals‐Ortiz
Miguel       Canario
Raidy A      Candelario
Eduardo      Candelario‐Galicia
Angel        Canela‐Placenci
Dislandy     Canelo‐Guzman
Yileine      Caolo
Yensi        Capellan
Devon A      Caples
Anthony      Capparell
Dorian C     Caprario


                                      20
                                 SCHEDULE A

First Name   Last Name
Kevin        Caputo
Joey         Caraballo
Julio        Caraballo‐Rodrigu
Maria        Cardenas
Jose         Cardona
Frezy A      Cardoso
Ramonita     Cardoso
Gregory S    Care
Jesiah D     Care
Kristina     Care
Desmaray     Carino
David        Carl
Randy        Carl
Kevin        Carl
Ricky        Carl
Jannette     Carlo‐Madera
Alex         Carlo‐Martinez
Roger        Carlson Jr.
Gregory      Carman
Julia        Carmen
Melissa L    Carpenter
Sandie       Carpenter
Marco        Carpio
Dennis       Carpio
Sorange      Carrasco‐Calderon
Levi         Carrasco‐Feliz
Brandon      Carrasquillo
Carlos       Carrasquillo
Diozada      Carrero‐Arce
Matthew      Carrieri
Terry        Carrigan
Angel        Carrillo‐Rodrigu
Yvonne       Carrion
Daniel       Carrion Jr
Cody         Carroll
Michael      Carroll
Jesus        Cartagena Jr
Harold       Carter
Steve        Carter
Richard      Carter Jr
Mark         Caruso
Jahira       Carvajal
Richard      Carver


                                     21
                                SCHEDULE A

First Name   Last Name
Jennifer     Casciola
Dustin       Cashman
Luis         Casiano
Marcus       Casiano
Angel        Casillas
John         Casper
Andrew       Casper
Scott        Cass
Adam         Cassel
Edward       Cassell
Joshua       Cassium
Sherry       Cassler
Efrain       Castaneda
Nicole       Castaneda
Nicholas     Castellano
Luis         Castillo
Oscar        Castillo
Ramon        Castillo
Gerardo      Castillo
Yeurys       Castillo
Enmanuel     Castillo‐Chalas
Nelson       Castillo‐Quinton
Yokarina     Castillo‐Ramire
Ethan        Castro
Fausto       Castro
Joe          Castro
Matthew      Castro
Pedro        Castro
Travis       Castro
Julio        Castro
Matthew      Castro
Silvio       Castro Delarosa
Giovanni     Castro Jr
Orlando      Castro‐Ballista
Wilfredo     Castro‐Marte
Jeremiah     Castro‐Ortiz
Jose M       Castro‐Tinoco
Deryk        Catizone
John         Cavorsi
Yendira      Ceballo
Raylin       Ceballo‐Nunez
Esmeldis     Ceballos
Radhames     Ceballos


                                    22
                               SCHEDULE A

First Name   Last Name
Ricardo      Ceballos
Angel        Ceja
Eric O       Ceja
Joel         Centeno S
Elba         Centero
Juan         Cepeda
Armando      Cepeda‐Gutierre
Nicholas     Cescon
Dionisio     Cespedes
Yohannan     Chacko
Jaquan       Chacon
Dario        Chacon Guzman
Alex         Chadwick
James        Chadwick IV
Veronica     Chagolla‐Cortes
Lotan        Chambers
Bethani A    Chan
Jose         Chaparro Jr.
Josue        Chaparro‐Roman
Marian       Chapman
Patrick      Chapman
Barry        Chappell
Brent        Chappell
Gina         Charles
Jason        Charles
Minel        Charles
Gina         Charles
Jeremy       Charles
Dwayne       Charles Jr
Kevin L      Charron
Carlos       Charron
Kevin        Charron
Jillian      Chase
Karen        Chase
Toby         Chase
Susan        Chattin
Carmen       Chavez
Janet        Chavez
Joel         Chavez
Janet        Chavez
Joel         Chavez
Howard       Chavous
Nicholas     Check


                                   23
                               SCHEDULE A

First Name    Last Name
James         Chege
Thomas        Cherry
Richard       Cheslock Jr.
Emerson       Chesser
Grisel        Chevere
James         Chickilly Jr
Peter         Chickvary
Heath         Chimics
Zonia         Choc
Erik          Christ
Andrew        Christman
Ellen L       Christman
Garry         Christman
Jarred        Christman
Leonard       Christman
Michael       Christman
Neal R        Christman
Sean          Christman
Kevin         Christman
Marty         Christman
Tracy         Christman
Zachary       Christman
Dustin        Christmas
Robert        Christmas
Jason         Chubb
Curtis        Churico
Marques       Churico
Jonathan      Chwatek
Michael       Ciesinski
Robert        Ciesinski
Angel L       Cintron
Brianna       Cintron
Chasity       Cintron
Denise        Cintron
Eric          Cintron
John          Cintron
Johnattan     Cintron
Wilfredo      Cintron
Chantell      Cintron‐Mala
Justin        Ciulla
Peterson      Civil
Frank         Civitarese Jr.
Christopher   Clare


                                   24
                                SCHEDULE A

First Name    Last Name
Joshua        Clark
Edwin         Class‐Garcia
Rene          Clavijo
Chad          Clawson
Aaron         Clay
Ashley        Clay
Christina M   Clay
Henry         Clay Jr.
Cody          Clayton
Andrew        Clayton
Joshua        Cleary
Cody          Cleaver
John          Clement
Justin A      Clifford
Oscar         Cline
John          Clinton
Robert        Clouser
Mayra D       Coello
Naila         Coello‐Villamar
Kenneth       Colas Jr.
Brandon M     Colbert
Heidy         Coldren
Troy          Coldren
Kellie        Coldren
Dwayne        Coleman
Joshua        Coleman
Dwayne        Coleman
Jarrett       Coleman
Thomas        Coleman
Darrin        Coles
Patrick       Coles
Adrian        Collado
Isamil        Collado
Margarita     Collado
Gretchen      Collazo‐Torre
Patrick J     Coller
Brian         Collins
Israel        Collins
Jordan L      Collins
Anthony       Colluro Jr
Alberto       Colon
Alexander     Colon
Cyrus         Colon


                                    25
                               SCHEDULE A

First Name   Last Name
David        Colon
Eric         Colon
Jayme        Colon
Joey         Colon
Maribel      Colon
Nydia        Colon
Sergio       Colon
Victor       Colon
Javen        Colon
Naysha       Colon
Raul         Colon
Javen        Colon Jr
Antonio      Colona
John         Colona
Rosa         Colon‐Arroyo
Alfonso      Colon‐Delgad
Wailani      Colon‐Garcia
Wilfredo     Colon‐Garcia
Michael      Colon‐Nazario
Desiree      Comas
Anthony      Compres
Jesenia      Concepcion
Yanet        Concepcion
Carolina     Concepcion‐Abad
Richard      Concepcion‐Terr
Anthony      Concordia
Darren       Congo
Todd         Conklin
Royce        Connor Jr.
Terence      Connors
Austin T     Conrad
Chad         Conrad
Katie        Conrad
Neil         Conrad
Ronald       Conrad
Debra        Conrad
Joshua L     Conrath
Michelle     Conrath
Scott        Conrath
Humberto     Constantino
Brett        Constein
Ryan         Constein
Jose M       Contreras


                                   26
                                 SCHEDULE A

First Name   Last Name
Maiki        Contreras‐Polanio
Alexander    Cook
Paul         Cook
Demrick L    Cook Sr
Russell      Cool
Eric         Cooper
Jutzen       Cooper
Toni         Cooper
Amanda       Cooper
Julius       Cooper
Tanya        Cooper
Chelsea      Copeland
Keith        Copeland
Alisha       Copertino
Jermal       Corbin Jr
Edwin        Cordero
Elsa         Cordero
Leonardo     Cordero
Luis         Cordero
Victoria     Cordero
Luis         Cordero Jr
Johssue      Cordero‐Lopez
Ariel        Cordoba‐Drouet
Edgar        Cordova
Maria        Cordova
Collin       Corman
Enrique      Cornejo‐Jimenez
Anthony      Corona
Robert       Corpora
Anthony      Correa
Luis         Correa
 Dean        Correll
Harold       Correll
John         Correll III
Matthew S    Corson
Kristine     Cortazzo
Bianca       Cortes
John         Cortes
Roberto      Cortes
Rosa         Cortes
Jose         Cortes‐Rodriguez
Antonio      Cortez
Jose         Cortez‐Diaz


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                                   SCHEDULE A

First Name   Last Name
Walter       Cortez‐Hiraeta
Victor       Cortina
Amber        Cortorreal
Jose         Cortorreal
Juan         Cortorreal
Silvia       Cortorreal
Ariel        Cortorreal‐Gonzalez
Joe          Cosme
Luis         Cosme
Keith        Costenbader
Reilly       Costenbader
Dylan        Costy
Jeffrey      Costy
Victor       Cotto
Rafael       Cotto Jr
Orlando      Cotto‐Ramos
Dalton       Coughlin
Adam J       Covatta
John         Covatta
Sean         Covatta
Seth         Cox
Steven       Cox
Esteban      Craido Munoz
Nicholas     Craig
David        Cramsey
Donna        Crawford
Noel         Crawford
Renee H      Crawford
Rolston      Crawford
Carl D       Creech
Ramonita     Crespo Jr
Ramon        Crespo Jr.
Clayton      Cressman
Trevor       Cressman
Eric         Crews
Maria        Criado
Esteban      Criado Munoz
Eddy         Crisostomo
William      Criswell
Shaun        Croissette
Chester      Croll Jr
Bret         Cronrath
Zachary      Cronrath


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                                    SCHEDULE A

First Name      Last Name
Andrew          Crouch
Airick          Crouthamel
Edward          Crowe
Jacob           Crump
Shelia          Crutcher
Brandon         Crutchfield
Edward          Cruz
Eunisebelia     Cruz
Hector          Cruz
Isiah           Cruz
Jazzlynn        Cruz
Olga            Cruz
Priscilla       Cruz
Rafael          Cruz
Ricardo         Cruz
Rolando         Cruz
Francisco       Cruz
Mike            Cruz
Alexander       Cruz Jr
Carlos          Cruz Jr.
Luis            Cruz‐Carlo
Ricardo         Cruz‐Contreras
Ramon           Cruz‐Gonzalez
John P          Cruz‐Martinez
Marcolina       Cruz‐Navedo
Emanuel         Cruz‐Placeres
Vivian D        Cruz‐Rivera
Jose            Cruz‐Suarez
Hubert          Cruz‐Vasquez
Edgar           Cuello
Yenilson        Cuello‐Doglio
Andrys          Cuevas
Jesus           Cuevas‐Tinoco Jr.
Delores         Cullen
Brian           Culver Jr
Richard         Cumberledge
Jovan           Cunningham
Robert J        Cunningham
Jose A          Curet
Francis         Curlett
Jonathan        Cusick
Jason           Cyr
Jean‐Baptiste   Dadie


                                        29
                              SCHEDULE A

First Name      Last Name
Joseph          Dagostino
John            Dailey
Darius          Dalcin
Kathleen J      Dale
Kenneth         Dale
Travis          Dalessio
Jason           Dalessio
Robert          Dalickas
Dylan S         Dallago
Lissette        Damiani
Mark            Daniel
Joseph          Daniels
Linda           Daniels
Nicholas        Daniels
Scott           Daniels
Jordan          Daniels
Santino         D'Anna
Paul            Danser
Hung            Dao
James           Darcourt
Nathan          Darienzo
Daniel          Darlington
Kevin           Darlington
Joseph          Darlington
Matthew         Darraugh
Macks           Darrell
Edson           Dastine
Carlos          Datil
Christopher J   Daub
Michael         Daubert
Kyle            Daughtry
Bradley         Dautrich
Dereck          Davidheiser
Isaac           Davidson
Karim           Davidson
Isaac           Davidson
David           Davies
Dennise         Davies
Shaun           Davies
David           Davies IV
Raul            Davila
Brandon         Davis
Dennis          Davis


                                  30
                                SCHEDULE A

First Name    Last Name
Eliah D       Davis
James         Davis
Jessica       Davis
Joseph        Davis
Lanette       Davis
Martin        Davis
Michael M     Davis
Nehemiah      Davis
Robert        Davis
Roderick      Davis
Scott         Davis
Terri L       Davis
Zachary       Davis
Christopher   Davis
David         Davis
Sean          Davis
Francis       Dawson
Katie         Dawson
Zachery       Dawson
George        Dawson Jr.
Michael       Dawson Jr.
Autumn        Day
Scott         Dayson
Delvi J       De la Cruz
Emilio Y      De La Cruz
Luciani       De La Cruz
Roberto       De La Cruz
Mariana       De La Cruz‐Cald
Jorge         De La Rosa
Crystal       De La Rosa
Diony         De Los Santos
Jendy         De Paula
Jose A        De Pena
Kyler         DeAgostino
Connie        Deal
Anthony       Deangelo
Edwin         Dearce
Linda I       Dearce‐Soria
Dalton        Dease
Andrew L      Deblasi
John          Deboer
Leymond       Debooth Jr
Susan         Debus


                                    31
                              SCHEDULE A

First Name   Last Name
Kyle         Decarlo
Sandy        Decola
Jaclyn       Dedee
Ray          Deeter
Vale         DEEter
Bryan        Degler
Derick       Degler
Michelle     Degler
Howard       Deibert
James        Deisher
Walter       Deitrick
Andres       Dejesus
David        Dejesus
Edwin        Dejesus
Jerry        DeJesus
Paloma       Dejesus
Gilberto     Dejesus
Steven       Dejesus
Argelys      DeJesus‐Sierra
Kelvin       Delacruz
Emilio       Delacruz
Andres       Delgado
Fabian       Delgado
Ruby         Delgado
Xavier       Delgado
Giovani      Delgado
Lydia R      Delgado‐Munoz
Reinaldo     Delgado‐Toro
Gregory P    Delgrosso
Billy        Delong
Dean         Delong
Dylan        Delong
Elizabeth    Delong
Eric         Delong
Gregory      Delong
James        Delong
Justin D     Delong
Martin       Delong
Matthew      Delong
Michael      Delong
Randy        Delong
Scott        Delong
Todd         Delong


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                             SCHEDULE A

First Name    Last Name
Tyler         Delong
Eric          Delong
Richard       Delong
Darigrey      Delorbe‐Rosa
Diony         Delos‐Santos
Ryan          Delp
David         Delrio
Wade J        DeLuca
Kayla         Delussey
Madeline      Delvalle
Arthur        Demmings Jr
Charles       Demos
Eric          Demun
Amanda        Denatale
Kenneth       Dengler
Stanley       Dengler
Jeffrey       Dengler
Shawn         Dengler
Peggy         Dennis
Timothy       Dennis
Victor        Deoleo
Jendy         Depaula
Jan           Depuydt
Denise        Derenzo
Sherri        Derk
James         Derose
Barry         Derr
Brian S       Derr
Chad M        Derr
Neal          Derr
Cindy         Derr
Darren        Derr
Christina E   Derrick
David         Derrick
Nicholas      Desantis
Mireille      Desir
Jeff L        Desmond
Jonathon      Detoma
Brian         Deturk
James         Detwiler
Keith         Detwiler
Lance J       Detwiller
Tyler         Deutsch


                                 33
                                SCHEDULE A

First Name    Last Name
Thomas J      Devito
Christina M   Devlin
Tiffany       Devlin
Howard J      Devlin III
Dale          Devough
Susan         Dey
Nicholas      Deysher
Anthony       Diaz
Daniel        Diaz
Elvis         Diaz
Estafani      Diaz
Felipe        Diaz
Jonah Z       Diaz
Jose          Diaz
Kenneth       Diaz
Luis          Diaz
Miguel        Diaz
Osvaldo L     Diaz
Ramona        Diaz
Yeraldin      Diaz
Enrique       Diaz
Giles         Diaz
Luis          Diaz
Ramon         Diaz
Yamilex       Diaz
Yaneri        Diaz
Clayury       Diaz Aguasvivas
Ranflin R     Diaz‐Baez
Ingrid        Diaz‐Corcino
Edwina        Diaz‐Delgado
Steven        Diaz‐Delgado
Domingo       Diaz‐Duarte
Jan Carlos    Diaz‐Mojica
Carlos        Diaz‐Pabon
Laurymer      Diaz‐Sanchez
Eduardo       Diaz‐Vega
Elvis         Diaz‐Ventura
Michael       Dibenetto
Zachary       Dibler
Adam C        DiDomenico
Ian           Diefenderfer
Jeffrey       Diefenderfer
Matthew       Diefenderfer


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                              SCHEDULE A

First Name   Last Name
Shaun        Diefenderfer
Cheyenne     Diehl
David        Diehl
Gigliola F   Diehl
Warren       Diehl
Eric         Diehm
Amanda       Dierolf
Richard      Dierwechter
Chris H      Dietrich
Colton N     Dietrich
John         Dietrich
Nevin        Dietrich
Richard      Dietrich
Stephen D    Dietrich
Aaron        Dietrich
Christian    Dietrich
Michael      Dietrich
Thomas       Dietrich
Rosanne M    Dietterick
Chevy        Diezel
Christine    Diezel
Vincent      DiGiosia
Danielle     Dillman
Nelson       Dillman
Christine    Diltz
Steve        Dimartino
Jose         Dingui
Nguyen P     Dinh
Louis        Dinino
Michael      Dionne Jr.
Jennifer     Disla
Miguel       Disla
Johnly       Disla‐Vizcaino
Cliff        Dissinger
Larry        Dissinger
Lisbeth      Ditizio
Gregory      Dixon
Jesse        Dixon III
Braulio      D'Leon
Elliot       Doaty
William      Dobo
Edward       Dobo II
Devin        Docherty


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                              SCHEDULE A

First Name   Last Name
Trina        Docherty
Heidi        Doerrman
Todd         Dojan
Raymond      Doleniak
Bernarda     D'oleo
Anthony A    Domanski Jr
Manuel       Dominguez
Wilson       Dominguez
Joselyn      Dominguez
Jose         Dominguez‐Pena
Michael      Donahue
Hector       Donato
Matthew      Donne
Amy          Donne
David        Donnelly
Jimmy        Donton
Anthony A    Dorney
Lisa         Dorney
Jason        Dorr
Carmen       Dotel‐Deporqui
Brian        Dotterer
Justin D     Dotterer
Nathan       Dotterer
Philip       Dougherty
Brett        Doutre
Brian        Dowdell
Stephen      Downs
Francis      Doyle
William      Doyle
David        Drago
Carolina     Dragovits
Carol        Dragovits
Chad         Dreibelbis
Jesse        Dreibilbis
Cori         Drey
Kurtis       Drey
Aleece A     Dries
Jeffrey      Dries
Justin       Dromie
Kevin        Drummer
Jesse        Drupp
Blake        Druzba
Sandra       Dry


                                  36
                                    SCHEDULE A

First Name   Last Name
Daniel       Dry
Thomas       Dubble
Scott        Ducoin
Walter M     Duffy
John         Duggan
Flavio R     Dumancela
Rosa         Dumancela
Jarbar       Dunbar Jr.
Valerie      Duncan
Wayne        Duncan
Stephen      Dunkle
Penny        Dunkle
Jedediah     Dunlap
Michael A    Dunning
Gabriel      Duran
Joshua       Duran
Luis A       Duran
Gabriel      Duran
Hairo        Duran
Luis         Duran‐Maldonado
Robert       Durst
Heather      Dyer
William B    Dyer Jr
Michael A    Dzurkovich
Samantha     Eagle
Richard      Eastburn II
Richard      Easterday
Joseph       Eben
Mark         Ebersole
Jarod        Eberts
Jennifer     Ebling
Melinda      Ebling
Robert       Eby Jr
Edwin E      Echavarria
Edwin        Echavarria‐Carbuccia
Angelica     Echevarria
Angie        Echevarria
Vanessa      Echevarria
Hector       Echevarria
David        Echevarria‐Cintron
Barbara      Echeverria‐Rodriguez
Cruz         Echeverry
Joseph       Eck


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                             SCHEDULE A

First Name   Last Name
Mark         Eckenroth
Maranda      Eckenroth
Paul         Eckenroth Jr.
Arthur       Eckert
Lori         Eckert
Wendy        Eckert
Sean         Eckler
Selena       Eckler
David        Eckroat
David        Eckroth
Francesca    Eckroth
Mari         Eckroth
Wayne        Eddinger
Brandon      Edelman
Linda        Edgar
Gregory      Edge
Alexander    Edinger
Jack         Edmonds
Cassandra    Edmunds
Kelly        Edmunds
Damon        Edwards
David        Edwards
Joshua       Edwards
Kanisha      Edwards
Martin       Edwards
Michael      Edwards
Neal R       Edwards
Steven       Edwards
Zachary      Edwards
Silas A      Egolf
John         Ehritz
Edward       Eidem Sr
Kerry        Eidle
Keith        Eisenhart
Tammy        Eisley
Adil         El Haize
Hamid        El‐Arfaoui
Mark         Eldredge
Jonathan R   Elliot
Patrick      Elliot
Christina    Elliott
Kimberly     Elliott
Michael      Eme


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                                  SCHEDULE A

First Name    Last Name
Holly         Emerich
Thomas        Emerich
Mathew P      Emerson
Brandon       Emerson
Mark          Emes
Emmanuel      Encarnacion
Rafael        Encarnacion
Miguel        Enchautegui‐Garci
Terry         Endy
Roy           Engel Jr.
Gregory       England
Cassie        Engle
Claude        Engle
Doreen        Engle
Dean          Englehart
Jason         Englehart
Sean          Englehart
Gustavo       Enriquez‐Tapia
Elorm         Ephraim
Jeffrey       Epler
Justin        Epler
Brian L       Eppihimer
Kim           Eppihimer
Christopher   Eppler
Clay          Erb
Rabenold      Eric
Nicholas      Erney
Clifford      Ernst
Jordan        Ernst
Nathan        Ernst
Steven        Ernst
Christopher   Ernst
Michele       Ernst
Jorge         Erras‐Cabrera
Eliseo        Escano
Joshua        Eschbach
Carlos        Escobar‐Garcia
Betty         Eshbach
Debra         Eshbach
Larry         Eshbach
Wesley        Eshbach
Maytte M      Espinal
Yasmely       Espinal


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                                SCHEDULE A

First Name    Last Name
Gregory       Espinal
Marcelo       Espinal‐Tejada
Amry          Espinosa
Jose          Espinosa
Miguel        Espinosa
Perla         Espinoza‐Zavala
Chad          Esposito
Joseph        Esposito
Martin        Esquivel
Kyle          Esser
Austin        Essick
Timothy       Essick
Gregg         Essig
Matthew       Esslinger
Prime G       Esteria
Catherine J   Esterly
Kyle          Esterly
Matthew       Esterly
Thomas        Esterly
Oscarly       Esteves
John          Estevez
Malwin        Estevez‐Lopez
Benito        Estrada
Edwin         Estrella
Yasmil L      Estrella
Emily         Estremera
Marcella      Ettinger
Julio         Euceda
Tony          Eusebio
Tony          Eusebio
Dean S        Evangelista
Recfles       Evangelista
Brynn         Evans
Clinton       Evans
Colleen       Evans
Denise        Evans
Frederick     Evans
James         Evans
John          Evans
Jonathan      Evans
Joseph        Evans
Lindsey       Evans
Robert        Evans


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                               SCHEDULE A

First Name     Last Name
Rodney         Evans
Roger          Evans
Ryan F         Evans
Samir          Evans
Susan          Evans
Timothy        Evans
Zakary         Evans
James          Evans Fisher
Clinton        Evans Jr.
Anthony A      Everingham
Kevin R        Evitts
Patricia       Evitts
Abdel‐Razzak   Fadel
Johannes       Fahnbulleh
Allen          Fair
John           Fajardo‐Arias
Alejandro      Falcon
Jose           Falcon
Rosemary       Falk
Yuleisy D      Familia‐Frias
Alfred         Fana
Kristian       Fana
Charles        Fang
Benjamin       Farabaugh
Chad           Farber
Jared H        Farkas
Christopher    Farrar
Ashley N       Faulkner
Luis           Fauris‐Fana
Kerry M        Faust
Michael        Faust
Richard        Faust
Nickolas       Fayewicz
Wilbert        Febo Jr
Gabriel R      Fedor
David          Fegely
Dennis         Fegely
Elizabeth      Fegely
Eugene         Fegely
Joseph         Fegely
Michael        Fegely
Robert         Fegely
David          Fegley


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                                  SCHEDULE A

First Name      Last Name
Eric            Fegley
Joseph          Fegley
Michael         Fegley
Randy           Fegley
Stephen         Fegley
Tara            Fegley
Jody            Fegley
Robert K        Fehnel
Andrew          Feick
Jacob           Feick
Travis D        Feick
Trevor J        Feick
Eliezer         Feliciano
Ivan            Feliciano
Yahaira         Feliciano‐Santi
Carmen          Felix
Marycarmen      Felix‐Fontanez
Melanie         Fell
Robert          Fellows
Charles         Fellows Jr
Chad            Felts
Craig           Fenoff
Bryan‐Scott     Fenstermacher
Kurt            Fenstermacher
Tod             Fenstermacher
Zachary         Fenstermacher
Craig           Fenstermaker
Drew            Fenstermaker
Eric            Fenstermaker
Michael         Fenstermaker
Shane           Fenstermaker
Amber           Fenstermaker
Michael         Ferguson
Christopher A   Fern
Carmen M        Fernandez
Edwin           Fernandez
Jeremy          Fernandez
Melissa         Fernandez
Arlene          Fernandez
Louis           Fernandez
Ruben           Fernandez
Jose            Fernandez Jr
Gabriel         Fernandez‐Garci


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                                   SCHEDULE A

First Name    Last Name
Maria         Fernandez‐Jacob
Alex          Fernandez‐Pinera
Jose          Fernandez‐Rodrig
Everett       Ferrell Jr.
Jose          Ferrer‐Jimenez
Pierino       Ferretti Jr
Cheryl        Ferrich
Sean P        Ferro
James         Fessenden
Katelyn       Fetherolf
John          Fetkin Jr.
Lawrence      Fetterolf
Peter         Fetterolf
Daniel        Fick
Eric          Fickes
Christopher   Fidler
Logan         Fidler
Allen         Fidler
Jeffrey       Field
George        Fields
Krista        Fields
Patricia      Fields
Cristino      Figueroa
Isaiah        Figueroa
Stephanie     Figueroa
Theresa       Figueroa
Travis        Figueroa
Jalen         Figueroa
Pedro         Figueroa
William       Figueroa
Luis          Figueroa‐Villaseno
David         Figura Jr.
Gregory       Finch II
Charles       Fink
Donald        Fink
Gordon        Fink
Michele A     Fink
Rayann        Fink
Steven        Fink
Tyler         Fink
Carlton       Firestine
Christopher   Fish
 Glenn        Fisher


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                               SCHEDULE A

First Name   Last Name
Adam         Fisher
Andre        Fisher
Austin       Fisher
Brad         Fisher
Edward       Fisher
Gary         Fisher
Jamie        Fisher
Kevin S      Fisher
Michael J    Fisher
Teri         Fisher
Tyler        Fisher
Brenda       Fisher
Jay          Fisher
David        Fisher Jr.
Brendapam    Fitzgerald
Zachary      Fitzgerald
Matthew      Fix
Kyle D       Fizz
Kira         Flammer
Shelly       Fleming
Natacha      Flerimon
James        Flessenden
Jensy        Flete
Michael      Flick
Cristin      Flicker
Benjamin     Flicker
Keith        Flicker
Merlius      Florentino‐Popo
Jose         Flores
Cesar        Flores
Craig        Flores Jr
Bryan        Flores‐Archila
Laura        Flores‐Mitchell
Hedtgar      Flores‐Queriapa
Angel        Flores‐Sanchez
Freddy       Florez
Freddy       Florez Jr
Donovan      Florez‐Avenda
Craig        Flowers Jr.
Kevin        Focht
Neil         Focht
Kade         Fofana
Manjou       Fofana


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                                SCHEDULE A

First Name   Last Name
Jarrod       Fogarty
Dennis       Fogelman
Steven       Fogelman
Damian       Foley
Andre        Folk
Dale W       Folk
Justin       Folk
Bobby        Follweiller Sr.
Bobby        Follweller
Jose         Fonesca Jr.
Alejandro    Fonesca‐Zaragoza
Anel         Fontanez
Wilson       Fontanez
Efrain       Fontanez III
Mark         Foose
Robert       Foose Jr.
Samuel       Forke
Miriam       Foronda
Oscar        Foronda
Salvatore    Forte
David        Fortin
Ernest       Fosnocht
Martin       Foss Jr.
Dwayne       Foster
Jeffrey      Foster
Matthew      Foust
Rainis       Fowler
David        Fowler
Albert       Fox
Allen P      Fox
Ashley E     Fox
Barbara A    Fox
Janet        Fox
Joshua J     Fox
Merelyn      Fox
Patric       Fox
Richard      Fox
Albert       Fox III
Vernon       Frable Jr.
Elido        Fracisco Jr
Ricky        Franceschi
Leonardo     Francisco
Roberto      Francisco


                                    45
                               SCHEDULE A

First Name    Last Name
Elido         Francisco Jr.
Jonathan      Francisco‐Nin
Gustava       Franco
Juan          Franco
Nelly         Franco
Roy           Franco
Leandro       Franco‐Batista
John          Franklin
Kyle          Franklin
Lisa          Franklin
Lloyd         Frantz
Omaira        Frantz
Peggy         Frazier
Shanna        Frazier
Audrey        Frazier
Scott         Frederic
Chris         Frederic
Joshua        Frederick
Keith A       Frederick
Todd          Frederick
Troy          Frederick
Melissa       Frederick
Adam          Frederick
Van           Frederick
Raymond       Frederick Jr
Roy           Fredericks
Thomas        Fredericks
Christopher   Freed
Todd          Freed
Nathan        Freeman
Nicholas      Frei Jr.
Justin        Frensky
Adam          Frey
Robert        Frey
Ryan M        Frey
Stephen E     Frey
Ali           Frias
Dary Esther   Frias
Luis          Frias
Marcos        Frias‐Acevedo
Tyler         Frick
Larry C       Fricker Jr
Joel          Friedman


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                                 SCHEDULE A

First Name   Last Name
Marc         Friedman
Kenneth      Friel
Timothy      Friel
Sandy        Fries
Thomas       Fries Jr.
Timothy      Fritch
Casey        Fritsch
David M      Fritsch
Toby         Fritsch
William      Fritts
Brianna      Fritz
Michael      Fritz
Gary         Fritz
Adam         Fritzinger
Andy         Fritzinger
Brad         Fritzinger
Michael      Fritzinger
David        Fromuth
Andrew       Frost
Alma         Frutos
Maria        Frutos‐Hernandez
Rafael       Frutos‐Hernandez
Katie        Fry
Keith        Fry
Traci        Frymoyer
David        Frymoyer
Bruce        Frymoyer Jr.
Jason        Fuentes
Erik         Fuentes‐Manjarrez
Robert       Fullard
Trista       Fulmer
Michael      Funk Sr.
Michael      Furlong
Jonathan     Gabel
Kevin        Gable
Michael      Gable
Jesus        Gabriel
James        Gaddis
Luminita     Gafencu
Luis         Galan
Julius       Galan
Darvin       Galan‐Jerez
Roberto      Galeno


                                     47
                                SCHEDULE A

First Name   Last Name
William      Gall
Daniel       Gallagher
Ruth         Gallagher
Samantha     Gallagher
Shawn        Gallagher
Scott        Gallaway
Josleny      Gallegos‐Bara
Josleny      Gallegos‐Barajas
Yadira       Gallegos‐Barajas
Jacqueline   Galli
Rocco        Gallucci
Francisco    Galvan‐Espinoza
Keith        Gambler
Madeline     Gambler
Scott        Gambler
Jeffrey      Gambler
William      Gambler III
Helberth     Gamez‐Guevara
John         Gandy
James        Gangaway
Tracy        Gangaway
Andrew       Gangawere
Jessica      Gangawere
John         Gangewere Jr
Ashley       Gans
Cynthia      Gans
Gerald       Gans
Steven       Gans
Curtis       Ganster
Zebulon      Ganster
Paul         Ganter
Steven       Ganter
Russel       Garber Jr.
Abundio      Garcia
Alexander    Garcia
Benjamin     Garcia
Bernice      Garcia
Daniel       Garcia
Domingo      Garcia
Emanuel      Garcia
Geraldo      Garcia
Hyket        Garcia
Jackson      Garcia


                                    48
                                  SCHEDULE A

First Name    Last Name
Joel          Garcia
Kelmin        Garcia
Marisol       Garcia
Mohammar      Garcia
Nelson        Garcia
Pedro         Garcia
Wilfredo      Garcia
Yanibel       Garcia
Yasmin        Garcia
Daniel        Garcia
Tirzo         Garcia
Joseph        Garcia
Luis          Garcia
Ruby          Garcia‐Aguierre
Ruby          Garcia‐Aguirre II
Felix         Garcia‐Alvarado
Melvin        Garcia‐Domingue
Milady        Garcia‐Garcia
Raymond       Garcia‐Martin
Olga          Garcia‐Negron
Elvis         Garcia‐Quillot
Raul          Garcia‐Soto
Luis          Garciz‐Rodrigue
Richard       Garis
Kyle          Garland
Jordan        Garman
Beverly J     Garritano
Cory          Garritano
Gregory       Gartner
Francisco     Gaspar
Cristian      Gaspar
Brian         Gasser
Brianne       Gasser
Allen L       Gates
Deanna        Gates
Kevin         Gates
Nathan        Gates
Daniel        Gatto
Jeffrey       Gauby
Thomas L      Gauger
Robert        Gaughan
Christopher   Gaul
Michael       Gavin


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                              SCHEDULE A

First Name   Last Name
John         Gavin Jr.
Matthew      Gawel
Eric         Gawrich
Roxann       Gawrich
David L      Gebhard III
Daniel       Gebhard Jr
Patrick      Gedroic Jr
Anthony      Gedz
Brian        Gehman
Justin       Gehman
Darren       Gehres
Eric         Gehringer
Javier       Gehris‐DeJesus
Thomas C     Geib
Zachary      Geidner
Cynthia      Geisinger
Darrell      Geisinger Sr.
Dylan        Geisler
Evan         Geist
Jason        Geist
Justin       Geist
Kevin R      Geist
David        Geist
Jeremiah     Gelnett
Johanny      Genao
Jay          Gensemer
Troy         Gensemer
Edward       Gentry
Anthony      George
Brandon      George
Dakota       George
Dillon       George
Jackson      George
Micah        George
Michael      George
Terri        George
Renee        George
William      George
Robert       Gephart Sr
Christian    Gerber
Timothy      Gerhard
Diane L      Gerhart
Nicholas     Gerhart


                                  50
                          SCHEDULE A

First Name    Last Name
Troy          Gerhart
Jordan        German
Scott         German
Francisco     German
Brenda        Gerner
Kyle          Gerner
Shane         Gerner
Debra         Gernert
Brandy        Gery
Christopher   Gery
Jeffrey       Getz
Jarrett       Gibboney
Michael       Gibbons
Danny         Gibbs
Christopher   Gibson
Jessica       Gibson
Matthew G     Gibson
Alexander     Gibson
James         Gienec
Gregory       Gieringer
Jason K       Gieringer
Karen         Gieringer
David         Gift
Marcus        Gil
Dylan         Gilar
Luke          Gilar
Dimy          Gilbert
Dustin D      Gilbert
Frantz        Gilbert
Taddous       Gillis
Jesse         Gilmer
Brett         Gilmore
Daniel        Gilmore
Scott         Gilmour
Adley         Gingery
Sean          Gipson
Corey         Girard
Keith         Girardi
David         Girault
Pierre        Girault
Cory          Girton
Desmond L     Glaze
Robert R      Glenn


                              51
                               SCHEDULE A

First Name   Last Name
Darrell      Godfrey
Alex         Godfrey
Lonnie       Godshall
Danielle     Godwin
Leon M       Godziejewski Jr
William      Goho II
Elan         Golden‐Alexis
Anthony      Golder
Trek         Golis
Laura        Gomber
Tim          Gombert
Luis M       Gomez
Marcelo      Gomez
Marcus       Gomez
Miquialis    Gomez
Juan P       Gomez‐Lopez
Michael      Gondek
Antonio A    Gonzales
Diana        Gonzales
Juan P       Gonzales‐Diaz
Alberto      Gonzalez
Amado        Gonzalez
Brandon      Gonzalez
Carlos       Gonzalez
Daniel       Gonzalez
Emilio       Gonzalez
Evelyn       Gonzalez
Jennifer     Gonzalez
Jose         Gonzalez
Joshua A     Gonzalez
Justin       Gonzalez
Luis         Gonzalez
Lyselys M    Gonzalez
Manuel       Gonzalez
Melvin       Gonzalez
Michael      Gonzalez
Miguel A     Gonzalez
Natasha      Gonzalez
Pablo        Gonzalez
Ricardo      Gonzalez
Tirso        Gonzalez
Vivian       Gonzalez
Yomayra      Gonzalez


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                                  SCHEDULE A

First Name   Last Name
Alesia       Gonzalez
Christian    Gonzalez
Keyller      Gonzalez
Miguel       Gonzalez
Yesenia      Gonzalez
Gary         Gonzalez Jr
Pablo        Gonzalez Jr.
Sergio       Gonzalez Palaci
Nicaury      Gonzalez‐Adames
Edwin        Gonzalez‐Bueno
Pedro        Gonzalez‐Cortes
Juan         Gonzalez‐Gabot
Melvin       Gonzalez‐Gonzalez
Oscar        Gonzalez‐Gonzalez
Danelly R    Gonzalez‐Mendez
Jose         Gonzalez‐Munoz
Leonel       Gonzalez‐Rodriguez
David        Gonzalez‐Rojas
Jesus        Gonzalez‐Saenz
Yunuel       Gonzalez‐Saenz Ert
Dan          Gonzalez‐Salas
Max          Gonzalez‐Torres
Vincent      Gonzalez‐Zavala
Brenda       Good
David J      Good
Gerald       Good
Hector       Gordian
Pedro        Gordian‐Betances
Emilio       Gordillo‐Nunez
Errol        Gordon
Jonathan     Gordon
Lavern       Gordon
Aaron M      Gorman
Daigo        Gorre‐Ndiaye
Miriam       Gosto
Jonathan     Gottschall
Richard      Gow
William      Gow
Gary         Gower
Daniel       Goya
Steven       Graczyk
Daniel       Graeff
Tyler        Graeff


                                      53
                             SCHEDULE A

First Name    Last Name
Bruce         Graff
Corey         Graff
Danny         Graff
David F       Graff
Jimmy         Graff
Robin         Graff
Scott A       Graff
Nevin         Graham Jr
Carlene       Grainger
Ronald        Gramigna Jr.
John          Grant
Craig         Grate
Gerald        Grater
Michael       Gratzinger
Walter        Graves Jr
Erik          Greathouse
Angelo        Green
Brian         Green
Evan C        Green
Gene          Green
Kasey         Green
Kevin         Green
Robert        Green
Christopher   Green
Edwin         Green
Gene          Green
Sarai         Green
Kevin         Greenawalt
Paul          Greenawalt
Tiffany       Greenaway
Anthony       Greene
Jordan        Greene
Natalie       Greene
Nicolas       Greene
Britni        Greene
Steven        Greene
Tramel        Greene
Joshua        Greenland
Kelvin        Greenleaf
Kevin         Greenwalt Jr
Donald        Greenwood
Justin        Greiner
Lindsay R     Greiss


                                 54
                                SCHEDULE A

First Name   Last Name
Steven       Greiss
Adelaide     Grider
Rhyan        Grieb
Tammy        Grieb
David        Grim
Paul         Grim
Steven J     Grim
Alan         Grim
Matthew      Grim
Nicolle      Grim
Samantha     Grim
Shawn        Gring
Theodore D   Grofe
David H      Groff
Tammy        Groff
Donald       Groff Jr.
Shane        Grogg
Hunter       Grol
Patricia L   Groller
Ronald       Groller Jr.
Gary         Gross
Renee        Grossman
Andrew       Grossman
Tammy        Grove
Dennis       Grow
Devin        Grow
Douglas      Grubb
Douglas      Grube
Joseph       Grube
Kyle         Gruver
Patti        Gruver
William      Gruver
Andrew       Guardado
Michael      Guarino
Pablo        Guerra‐Bonilla
Luis         Guerra‐Fontana
Miguel       Guerrero
Enyer        Guerrero Alvarez
Amyi V       Guerrero‐Alvarez
Derek        Guest
Dustin       Guigley
Alex         Guilbe
Xavier       Guilbe


                                    55
                                 SCHEDULE A

First Name    Last Name
Emilio        Guilbe
Thomas        Guildo
Jesse         Guinther
Larry         Guinther
Michael       Guinther
Larry         Guinther Jr.
Bret          Guistwite
Eric          Guistwite
Edwin         Guitierrez‐Duran
Glenn         Guldin
Parker        Guldin
Anthony       Guldin
Ryan          Gumby
Christopher   Gurskey
Shirley M     Gurtowski
Ray           Gusick
Ethan         Guti
Emmanuel      Gutierrez
Esdras        Gutierrez
Hector L      Gutierrez
Luis          Gutierrez
Jocelyn       Gutierrez‐Lara
Derek         Gutshall
Patrick       Guy
Carlos U      Guzman
Felipe        Guzman
Francheska    Guzman
Jesse         Guzman
Junior        Guzman
Lugi          Guzman
Marlen        Guzman
Miguel        Guzman
Ruby          Guzman
Vanessa       Guzman
Jacqueline    Guzman
Maria         Guzman‐Lugo
Noe           Guzman‐Martinez
Josel         Guzman‐Parrilla
Jason         Haas
Jonathan      Haas
Justin D      Haas
Ralph J       Haas
Shawn         Haas


                                     56
                           SCHEDULE A

First Name    Last Name
Timothy       Haas
Carl          Haas Jr.
Ronald        Haberern
Keith         Hackman
Brien K       Hafer
Jared         Hafer
Jean          Hafer
Jeffrey       Hafer
Pamela        Hafer
Ricky         Hafer
Todd H        Hafer
Victor        Hafer
Ricky         Hafer Jr.
Tyler         Hahn
Richard       Hahn III
Alexander     Haigh
Shawn         Hails
Stephen       Hails
John          Haines
Mickey        Hakes
Lewis         Hakes Jr
Jeffrey       Hale
Diondre       Hall
Christopher   Hallick
Mohamed       Halym
Joseph        Hamaker
Samuel        Hamm
James         Hampton
Joshua        Hann
Zachary       Hann
Edward        Hann Jr
David         Hansen
Shane         Hansley
Justin        Hanson
Cleveland     Harding
Alexander     Hardy
Clint         Hardy
Garrett       Hardy
Michael       Hardy
Jacob         Hare
Larry         Harges Jr.
Christopher   Harker
Robert        Harmony


                               57
                           SCHEDULE A

First Name   Last Name
 James       Harnish Jr
Anthony      Haro
Rolando      Haro
Daniel       Harp
James        Harp
Joe          Harrell
Scott        Harrier
William      Harrington
Aaron J      Harris
Devin        Harris
Anthony M    Harrison
Julie        Harrison
Kenneth      Harrison Jr
Devin        Harron
Mackenzie    Hart
Scott        Hart
Robert       Hart Jr
Brent        Hartberger
Lisa         Hartberger
Chad         Hartberger
James        Hartenstine
Colby        Hartline
Jake         Hartline
Keith        Hartline
Kevin        Hartline
Michael      Hartline
Bruce        Hartman
David        Hartman
Donald       Hartman
Francisco    Hartman
Justin       Hartman
Stephen      Hartman
Suzanne      Hartman
Thomas       Hartman
Troy         Hartman
Timothy      Hartman
Wendy        Hartman
Kent         Hartmoyer
Brandon      Hartranft
Blaine       Hartz
Douglas      Hartz
Matthew      Hartz
Tadd         Hartz


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                               SCHEDULE A

First Name   Last Name
Glenn        Harvey Jr
Eric         Harville
Harry        Harville
Aaron        Haskins
Amged        Hassan
Mark         Hassler
Roger        Hassler
William      Hassler
Donald       Hatfield
Salvatore    Hatfield
Derek        Hauck
Leann        Hauck
Mark         Hauck
Cory         Hausman
Michael      Hausman
Terry        Hausman
Casey        Haverstock
Shaine       Hawk
Dennis       Hawk
Michele      Hawkins
Robert       Hawkins Jr
Randy        Haydt
Ryan         Hayes
Joel         Hayick
Erika        Heater
Hean         Heater
Hy           Heater
Jon          Heater
Zachary      Heater
Amber        Hebhardt
Ethan A      Heck
Shawn        Heckart
Adrienne     Heckman
Barry        Heckman
Kelly        Heckman
John         Heckman Jr.
Dean         Heffelfinger
Justin       Heffelfinger
David P      Heffelfinger
Rodman       Heffelfinger IV
Brian        Heffline
Bryan        Heffner
Darryl       Heffner


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                              SCHEDULE A

First Name   Last Name
James        Heffner
Jeffrey      Heffner
Michael      Heffner
Steven       Heffner
Timothy      Heffner
Trevor       Heffner
Joey         Heffner
Brian A      Hehnly
Stephanie    Hehnly
Brian        Hehnly
Jessica      Heilman
Barrie A     Heimbach
Brandon      Heisner
Richard      Heister
Benjamin     Helbert
David W      Helbert
Glenn        Helbert
Jonathan     Helbert
Leif         Helbert
William      Helbert
Harry        Helbert
Sheul        Helena Ramirez
Michael      Helfer
Patricia     Helfrich
Bruce        Heller
David        Henke
Deric        Henn
Jordan       Henn
Sarah        Henn
Stephanie    Henn
Todd M       Henn
Keagan       Henne
Sheldon      Henne
Michael      Henne
Patrick      Hennessey
Jennifer     Henninger
John         Henninger
Kevin        Henninger
Kurt         Henninger
Alexander    Henrich
Dianne       Henry
Michael      Henry
Steven       Henry


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                              SCHEDULE A

First Name   Last Name
Martin       Henry Jr
Tracey       Hensley
Alex         Hepner
Barry        Hepner Jr.
Bradley S    Herbein
Jerry        Herber
Cory         Herbold
David        Herbold
Benjamin     Herchelroth
Marlyn       Heredia
Wilson       Heredia‐D'Leon
Jonathan     Herflicker
George       Herman
Troy A       Herman
Edwin        Herman
Steven       Herman
Armando      Hernandez
Benjamin     Hernandez
Carlos C     Hernandez
Eliel        Hernandez
Heyde        Hernandez
Jeffrey      Hernandez
Jeremy       Hernandez
Joel         Hernandez
Jose         Hernandez
Lina S       Hernandez
Marcelino    Hernandez
Miguel       Hernandez
Omar         Hernandez
Rafael D     Hernandez
Rancel       Hernandez
Sonia        Hernandez
Victor       Hernandez
Yadira       Hernandez
Armando      Hernandez
Elisbel      Hernandez
Horacio      Hernandez
Melany       Hernandez
Nicholas     Hernandez
Susana       Hernandez
Jose         Hernandez Cruz
Angel        Hernandez Jr.
Pedro        Hernandez Jr.


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                                   SCHEDULE A

First Name   Last Name
Rafael       Hernandez Jr.
Zuleyda      Hernandez‐Camp
Jose         Hernandez‐Flores
Eddie        Hernandez‐Gonzalez
Maria F      Hernandez‐Jacob
Arnolfo      Hernandez‐Ord
Jonathan     Hernandez‐Rodriguez
Francisco    Hernandez‐Romero
Aaron        Herndon
Yaritza      Hernendez Echev
Fray         Herrara Valerio
Elvin        Herrara‐Warner
Giselle A    Herrera
Juan         Herrera
Fray         Herrera Valerio
Elvin        Herrera‐Warner
Daniel L     Herrlinger II
Emilee       Herrmann
Vincent      Herrmann
Justin       Hersh
Daniel       Hersh
Jeffrey      Hertzog
Lucas        Hertzog
Thomas       Hertzog
Craig        Hertzog
Joshua       Hertzog
Michael      Hertzog
Robert       Hertzog Jr.
Adam         Hess
Cody         Hess
Heather      Hess
Jeffrey      Hess
Joshua       Hess
Matthew      Hess
Randy        Hess
Robert       Hess
Thomas       Hess
Zachary      Hess
Daniel B     Hetrick
Jane         Hetrick
Joyce A      Hettler
Curtis       Hetzer
Jolene       Hetzog


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                            SCHEDULE A

First Name    Last Name
Timothy       Hewson
Carmelo       Heyer Jr
Donna         Hickman
Cassieam      Hicks
Cody M        Hicks
Kevin         Hidalgo
Kyle          Hiester
Richard       Hiester
Jacklyn       Hightower
Bonnie L      Hilbert
Jeffrey       Hilbert
Keenan        Hilbert
Keith         Hilbert
Kevin G       Hilbert
Scott         Hilbert
Shirley A     Hilbert
Timothy       Hilbert
Tony          Hilbert
Douglas       Hilbert
Mark          Hilbert
Robert        Hilbert
Ryan          Hilbert
Thomas        Hilbert
Kevin         Hildenbrand
Jonathan      Hile
Archie        Hill
Christopher   Hill
Denise        Hill
Janiece       Hill
Joshua L      Hill
Nicholas      Hill
Robert        Hill
Katrina       Hill
Leah          Hill
Ryan          Hill
Jacob         Hillbish
Donna         Hillegass
Dustin        Hillegass
Joshua        Hillegass
Nicole        Himes
John          Himes
Lisa          Himmelreich
Susan         Himmelreich


                                63
                                 SCHEDULE A

First Name    Last Name
John          Hine
Evan          Hinkel
Jason         Hinkle
Joshua        Hinkle
Scott R       Hinnershitz
Oscar         Hinojosa‐Hernand
Dane          Hiryak
Jeremy        Hitchens
Renee         Hite
Geoffrey      Hitt
Jacob         Hitt
Terry L       Hitz Jr
Jazmin        Hix
Jason         Hnot
Karen         Hoagland
Trung         Hoang
Michael       Hoare
Anthony M     Hoch
Franklin      Hoch
Robert M      Hoch
Shawn S       Hoch
John          Hoch Jr.
Douglas       Hock
Jacob         Hodge
Christopher   Hodge
Joseph        Hodon
David         Hoffa
Wanda         Hoffa
Jamie         Hoffert
Joshua        Hoffert
Scott         Hoffert
Tina          Hoffert
Henry         Hoffert Jr.
Barry         Hoffman
Budd          Hoffman
Codey         Hoffman
Dawn          Hoffman
Donald        Hoffman
Drew S        Hoffman
Glenn         Hoffman
Joseph        Hoffman
Kody          Hoffman
Luke          Hoffman


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                             SCHEDULE A

First Name   Last Name
Samuel       Hoffman
Timothy      Hoffman
Tirrell      Hoffman
Todd K       Hoffman
Zachary      Hoffman
Barry        Hoffman
Mason        Hoffman
Shayne       Hoffman
Robert       Hoffmann
William      Hoier
Michael      Hoilko
Ernest A     Holben
Jeremiah     Holberton
Jaryd        Holena
Edgar        Holguin
William      Holguin Reyes
James        Holland
Kevin        Holland
Jarred       Hollenbach
Cathy        Hollenbach
Kelsey       Hollenbach
Eddie        Holloway Sr
Joseph       Holva
Brenda       Homan
Susan        Homan
Robert       Hooper
James        Hopkins III
Lonnie       Hoppes
Ricky        Hoppes
Timothy      Hoppes
Roy          Horchak Jr.
Alfred       Horn
Chad         Horn
Jeremy L     Hornberger
Andrew       Horner Jr
Nancy        Horning
Michael      Horvath
Paul         Hosier Jr.
Bret         Hottenstein
Trevor       Hottenstein
Troy         Hottenstein
Bart         Hottenstein
Chris        Houck


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                           SCHEDULE A

First Name    Last Name
Randolph      Houck
Keith         Houptley
Matthew       Houptley
William       Houston Jr
Jordon        Hovan
Jordan        Howe
Tyler         Howe
Chad          Howells
Gene          Hregician
Cory          Hricik
Joseph        Hritzko
Rodney        Huber
Terry L       Huber
Renee         Hudson
Raphael       Hueber
Marina        Huertas
Andrew        Huff
Maria         Huff
Theresa       Huff
James         Huff Jr
Michael       Huffman
Canon         Huffort
Kenneth       Huffort
Susan         Huffort
John          Hughes
Robert        Hughes
Theodore      Hughes
Kenneth A     Hughes Sr
Brandon       Humanick
Dennis        Hummel
Michael       Hummel
Jason         Hummel
Richard       Hummel III
David         Hunsberger
Colin         Hunsberger
Brad          Hunsicker
Norm          Hunsicker
Dennis        Hunsicker
Lavar         Hunter
Christopher   Huntsinger
Dorothy       Huyett
Justin        Huyett
Thomas        Huyett


                               66
                           SCHEDULE A

First Name   Last Name
Bryan        Iaccarino
Timothy      Iaderosa
Mary Ann     Iaquinto
Sylvia       Ibarra
Michael      Ifkovits
Alexandrea   Illiano
Dominic      Illiano Jr.
Ernest H     Imbody
Massimo      Incandela
John         Ingle
Shawn        Ingram
Jasmine      Iraola
Benjamin     Iraola Jr.
Aaron        Irizarry
Colby        Irizarry
Angel        Irizarry
Joel         Irrizarry
Jose         Isa
Rodney       Isaac
Jose         Isa‐Baez
Heath A      Isamoyer Jr
Anil         Isardat
Robert       Isley
Lance        Istenes
Dexter       Jablonski
Nikolas T    Jackovitz
Asya         Jackson
Dorothy      Jackson
Timothy      Jackson
Vincent      Jackson Jr.
Dwight       Jackson Jr.
Alexander    Jacob
Ryan         Jacobs
Chad         Jacoby
Edward       Jacquez
Sallu        Jalloh
Mohamed      Jalloh
Nael         Jalo
Kirk D       James
Ryan         James
Ian          James
Hunter       Jamison
Jonathan     Jamison


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                                SCHEDULE A

First Name    Last Name
Kevin         Jamison
Shena         Jamison
David         Janderchick
Robert        Janke
Johny         Japa
Patrick       Jaranja
Richard       Jarrett
Michael       Jarsocrak
Neil          Jasinski
Robert        Jaworski
Lafortune     Jean‐Baptiste
Patrick       Jean‐Baptiste
Clarence      Jeffrey
Cindy         Jenne
Duane N       Jenne
Amy           Jennings
Brian         Jennings
John          Jerez
Rodrigue      Jerome
Andres        Jimenez
Argelis       Jimenez
Ramon         Jimenez
Ysabel        Jimenez
Jacinto       Jimenez Jr.
Oscar         Jimenez‐Lara
Johanna       Jimenez‐Montoya
Otoniel M     Jimenez‐Nolasco
Daniel        Jimenez‐Ospina
Alejandra C   Jimenez‐Perez
Jose          Jimenez‐Pizarro
Angel         Jiminez
Carlos        Jiminez
Lenin         Jiminez
Danilsa       Jiminez‐Perez
Nancy         Jiminez‐Vaquero
Genesis       Jiminian
Elvert        Joga
Wanda         Johannides
Frances B     John
Henry         John
James         John
Albert        Johnson
Benjamin      Johnson


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                           SCHEDULE A

First Name    Last Name
Chantay       Johnson
Christopher   Johnson
Haether       Johnson
Kenneth       Johnson
Kiara         Johnson
Matthew J     Johnson
Michael       Johnson
Robert        Johnson
Tyson         Johnson
Blake         Johnson
Jarred        Johnson
Kharton       Johnson
Kiara         Johnson
Matthew       Johnson
Roger         Johnson
Adrianne      Jones
Janet         Jones
Jeffrey       Jones
Jeneil        Jones
Jeremy        Jones
Kyle D        Jones
Matthew       Jones
Michael R     Jones
Robin         Jones
Ronald        Jones
Timothy       Jones
Zachary       Jones
Robin         Jones
Charles       Jones Jr
Matthew       Jonhnson
Claribel A    Jorge
Mayra         Jorge
Kaitlyn       Joseph
Cliff         Joseph
Sheldon       Juarbe
Erica         Julia
Joseph        Juntunen
Christopher   Jusino
Frantzy       Juste
Bryan         Justiano
Gerardo       Justiniano
Joshua        Justiniano
Oscar         Justiniano


                               69
                            SCHEDULE A

First Name    Last Name
Jason         Kachel
Stephen       Kachmar
Robert        Kafara
Wyatt         Kahley
Willliam M    Kalbach
Derik         Kalin
Derek         Kanavins
Dylan         Kanavins
Joshua        Kantner
Joseph        Kappel
Treantafelo   Karahalias
Patrick       Karanja
Anthony       Karras Jr.
Avery J       Kasick
Adam          Kasparities
Fallon        Kasparities
Jason         Kasparities
Alec          Kasprowicz
Robert        Kasprowicz
Ryan          Kasprowicz
Fouad         Kassis
Megan         Katchur
Greg          Katerman
Carl S        Kaucher
Brian         Kauffman
Christopher   Kauffman
Derek         Kauffman
Jayne         Kauffman
Jeffrey       Kauffman
Robin         Kauffman
Bradley       Kaufmann
Rajwinder     Kaur
Michael       Kazmierczak
Brian         Keck
Mary          Keck
Christopher   Keene
Brent         Keeney
Sean          Keeney
Barry         Keeney
Brian         Keeney
Arthur S      Kehl
Thomas        Kehl
Brian         Kehl


                                70
                             SCHEDULE A

First Name    Last Name
Alice         Kehm
Justin        Kehm
Jordan        Kehoe
David         Kehres
Desire        Kehs
Theodore      Keich
Dana          Keim
Todd          Keim
Cindy         Keiser
Gregory       Keiser
Steven        Keith
Zorah         Keith
Jason         Keller
Peter         Keller
Roy           Keller
Todd          Keller
Christopher   Keller
Randy         Keller
William       Keller
Matthew       Kelley
Christopher   Kelley
Michael       Kellum
Brandon P     Kelly
James         Kelly
Joseph        Kelly
Nathan        Kelly
Steven        Kelsch
Amber         Kemmerer
Cory          Kemmerer
Devin         Kemmerer
Ronald        Kemmerer
Tracy         Kemmerer
Richard       Kemmerer
Ronald        Kemmerer Jr.
Jonathan      Kemner
David         Kemp
Kevin L       Kemp
Robert J      Kemp
Keith         Kenderdine
Roderick      Kendrick Jr
Jean          Kennedy
Justin        Kennybrew
Reid          Kent


                                 71
                              SCHEDULE A

First Name    Last Name
John          Keohane
Richard       Kepner Sr
Gregory       Keppley
Glenn C       Kercher
Ronald        Kercher
Mark          Kercheski Jr.
Bernadette    Kerchner
Philip        Kerchner
Thomas        Kerchner
Michael       Kerchner
Travis        Kerl
Desiree       Kern
David         Kerr
Deryk         Kerschner
Justin        Kerschner
Sean          Kerschner
Craig         Kershner
Brandon S     Kerver
Brian         Kerver
Destiny       Kesckes
Elijah        Key
John          Kiapes Jr.
Ryan          Kibler
Joseph W      Kidon
Gerald        Kieffer Jr
Alexander     Killinger
Andrew        Killinger
Larry         Kilpatrick
Aaron         King
Matthew       King
Peter A       King
Raymond       King
Steven        King
Brian         King
Robert        King II
Denise S      Kinkaid
Stephen       Kirchner
Stephen       Kirlin
James A       Kirn
Peter         Kisesewa
Compton       Kishna
Dillon        Kissinger
Christopher   Kissinger Jr.


                                  72
                            SCHEDULE A

First Name    Last Name
Taylor        Kissling
Michael       Kissling
Brandon       Kistler
Jeremy        Kistler
Katlyn        Kistler
Keith         Kistler
Wyatt         Kistler
Dawn          Kitson
Amanda        Kivela
Thomas        Kleckner
Timothy       Kleffel
Andrew        Klein
Robert        Kleinfelter
Steven J      Kleinfelter
Nicholas      Kleinfelter
Roger         Kleinfelter
Anita         Klemm
Charles       Klemmer Jr.
Amanda        Klim
Donald        Klimek
Alan          Kline
Brian         Kline
Caitlin       Kline
Cory          Kline
Darren        Kline
Gary          Kline
Jackson       Kline
Jared         Kline
Justin        Kline
Kelsey        Kline
Matthew       Kline
Randolph      Kline
Robert R      Kline
Rose M        Kline
Thomas        Kline
Tiffany       Kline
Tyler N       Kline
Christopher   Kline
David         Kline
Jackson       Kline
Mark          Kline
Randall       Kline
Richard       Kline


                                73
                           SCHEDULE A

First Name   Last Name
Rita         Kline
Ryan         Kline
Samantha     Kline
Dennis       Klingaman
Daniel       Klinger
Lonnie       Klinger
Barbara      Klippel
Shawn        Klippel
Shaun        Klump
Jay S        Knaar
Bret         Knarr
Tiffani      Knecht
Stephen      Kneeream
Daniel       Knepper
Derek        Knerr
Shawn        Knerr
Brian        Knoblauch
Craig        Knoblauch
Adam         Knoll
Timothy      Knopf
Ray‐John     Knott
Thomas       Koch
Jeffrey      Koch
Danette      Kocher
Jeffrey      Koegel
Cory         Koehler
Alec         Kohl
Brad         Kohler
Justin       Kohler
Warren       Kohler Jr
Alexander    Kolar‐Smith
Gregory D    Koller
J Peter      Koller
Samuel       Kollie
Venura D     Konara
Brian        Kopac
Gerry        Kopcik
MARK         KOPCIK
Richard      Koperna Jr
Timothy      Kopicz
Lisa         Kopicz
Ryder        Koral
Tyler        Koral


                               74
                                SCHEDULE A

First Name   Last Name
Keith        Korczykowski Jr.
Tim F        Korn
Ryan         Korutz
Anthony      Kosmerl
Michael      Kostomiris
Kevin        Kovac
Andrew       Kowalski
Michael      Kozak
Michelle     Kozak
Matthew      Kozak
James        Kozlowski
Brandon      Kramer
Cathy        Kramer
Kenneth      Kramer
Lori         Kramer
William      Kramer
Zachariah    Kramer
Derek        Kramer
James        Kramer
Lucas        Kramer
Chaz         Kramlich
Kathy        Krammes
Dale E       Krantz
Kathleen J   Krasley
John         Kratz
Shawn        Kratz
Bradley      Krause
Jordan       Krause
Kevin        Krause
Nicholas     Krause
Robert       Krause
Tyler        Krebs
Stacy        Kreibel
Aaron        Kreider
Cara C       Kreider
Robert       Kreidler
Nicholas     Kreiser
Jeremy       Kreiser
Randy        Krepp
Nicholas     Kresge
David        Kressley
George       Kressley
Meggan       Kressley


                                    75
                              SCHEDULE A

First Name   Last Name
Steven       Kressley
Brent        Krick
Ryan         Krick
Michael      Krize
Daniel       Krouse
Wayne        Krueger Jr.
April        Krumanocker
Dean R       Krumanocker
Brett        Krumanocker
Kristine     Krummenacker
Donna        Kruppenbach
David        Kucier
Becky A      Kuhn
Kody         Kuhns
Randy        Kuhns
Ricky        Kuhns
Robert       Kuhns
Scott        Kuhns
Natasha      Kuilan‐Dejesus
Brian        Kulaga
John         Kulaga III
William      Kulaga Jr.
Aaron        Kulp
Donald       Kulp
Jesup        Kulp
William      Kulp
Robert       Kulp
Matthew      Kunes‐Keller
Brian N      Kunkel
Michael      Kunkel
Peter        Kunkleman
Russell      Kunkleman
Sue          Kunkleman
Peter        Kunsch
Steven       Kuntzleman
Michael      Kurowski
Robert       Kutz
Brandon S    Kutz
Michael      Kutz Sr.
Emily H      Kyle
Jeffrey      Labarge
Kenneth      Labe Jr.
Luz          Laboy


                                  76
                              SCHEDULE A

First Name      Last Name
Steven          Laboy
Barry           Lacey
Rodney          Ladue Jr.
Barry L         Lafaver
Justin          Lafferriere
Benjamin        Lagler
Juan            Lagunas
Alexander       Lahue
Miles           Lahue
Shawn           Laky
Christopher     Lalik
Andrew          Lallemand
Gary            Lambert
Jesse           Lamm
Ryan            Lamon
Carlington      Lamont
Corey           Landis
Judy            Landis
Michael L       Landis
Patrick         Landis
Tucker          Landis
Teresa          Landis
Airl            Lane
Alexander       Lane
Asihia          Lane
Bradley C       Lane
Bryan           Lane
Matthew         Lane
Andre           Lang
Christopher E   Langlois
Cipriano        Lantigua
Nathan J        Laponuke
Annette         Laporte
Richard         Laporte
Cory            Lapp
Gregory         Lapp
Kevin           Lapp
Liboria         Lara
Juan            Laracuente
Hortensia       Lara‐Frutos
Darryl          Larish
Timothy         Larkin
David           Laros


                                  77
                             SCHEDULE A

First Name   Last Name
Amy          Lash
Leon         Lash III
Randy E      Laskey Jr
John         Latchford
Yvonky       Latouche
Rochelle     Latta
Rodney       Laude Jr
Aaron        Laureano
Steven       Laureano
Steven       Laureano II
Bruce        Laurent
Bruce        Laurent Jr.
Daria        Lavalos‐Emmel
Kyle         Lawhorne
Matthew      Lawhorne
Nathan       Lawrence
Nathaniel    Lawrence
Elmer        Lawson
Shawn        Lawson
Charles      Laylon
Patrick      Laylon
Patrick J    Laylon
Yimaralis    Lazu
Amber        Le
Anthony      Le
Sandy        Le
Cody         Leach
Amber        Leagans
Ann          Lease
Shawn        Lease
Renee        Leavell
James        Leblanc
Christian    Lebron
Eduardo      Lebron
Jessica      Lebron
Michael      Lebron
Eduardo      Lebron
Raymond      Lebron
Dagoberto    Lebron‐Colon
Elizabeth    Leck
Daniel       Lee
Darrell      Lee
Kenneth      Lee II


                                 78
                              SCHEDULE A

First Name    Last Name
Robert        Lee Jr
Patrick       Leedom
Deyunquis     Legrand
Nelson        Leguizamon
Kenneth       Leh
Timothy       Lehman
Kelsey        Leibelsperger
Zenia         Leibelsperger
Kody          Leiby
Steven        Leiby
Robert        Leidig Jr.
Jesus         Leija
Franklin J    Leininger
James         Leininger
Christine M   Leitgeb
Edgardo       Leiva
Zonia         Leiva
Seth          Lemanek
Walter A      Lemanek
Gordon        Lemay
John          Lena
Richard G     Lengel
John          Lengel
Steven        Lenhart
Travis        Lennon
Jason         Lentz
Rodney        Lentz
Alexis R      Leon
Eddie         Leon
Joe           Leon
Jose          Leon
Luis          Leon
Frank         Leon Jr
Glenn         Leonard
Jeffrey       Leone
Samuel        Leone
Jesse         Leonhard
Ashley        Leonti
Benjamin      Leonti
Christopher   Lepage
Dennis        Lepera
Jason         Lerch
Jennifer      Lerch


                                  79
                               SCHEDULE A

First Name   Last Name
Ryan M       Lesagonicz
Brandon      Lesagonicz
Michael      Lesher
Patricia A   Lesher
Todd         Lesher
Kyle         Lesher
Mark         Leshner
Sam          Letterhouse
Barry        Levan
Daniel       Levan
Desiree      Levan
Melissa      Levan
Robert       Levan
Warren H     Levengood
Roxanne      Levengood Sch
Leif         Levering
Larry        Lewars
David        Lewis
James R      Lewis
Joeb         Lewis
David        Lewis
Perry        Lewis
Shawn        Lewis
Rebecca M    Leymeister
Ronald       Leymeister
Willy        Lezama
Floyd        Lias
Floyd        Lias Jr.
David        Lichtenwalner
Drew L       Lichtenwalner
Preston      Lichtenwalner
Ray          Lichtenwalner
Jonathan M   Liggett
Paul         Lilley
William      Lilley
Caleb        Lilly
Steven       Lindahl
Jorge        Lindao
Barrie       Lindenmuth
Scott        Lindsey
Shawn        Lintz
Pedro        Liriano De Leon
Alfred       Liriano De Leon


                                   80
                               SCHEDULE A

First Name    Last Name
Jeffrey       Little
Korey         Little
Shawn         Little Jr
Gregory       Littlejohn Jr.
Joseph        Litzenberger
Matthew       Livingood
Joel          Llanos
Mario         Llin‐Santana
Kenneth       Lloyd
Edwin         Lluberes
Gerardo       Loaiza
Randy         Loar
Edward        Loch
Tina          Loch
James         Lochman
Stephen       Lochman
James         Lochman II
Randy         Lockwood
Chas          Loeb
Christopher   Loeb
Michael       Loeb
Kelsey        Loeper
Daniel        Loera‐Castro
Bernie        Logan
Charles       Logan
Nicholas      Lohrman
Matthew       Lolley
Evangie       Lomas
Freddy        Lomas
Jose          Lombay
Christopher   Long
James S       Long
Kim           Long
Michael       Long
Kim           Long
Nicholas      Long
Stephen       Long
Gary          Longo
David A       Lonker
Miranda       Loose
Bryant        Lopez
Daniel J      Lopez
Dorothy       Lopez


                                   81
                               SCHEDULE A

First Name    Last Name
Edwin         Lopez
Evelyn        Lopez
Hector        Lopez
Jasmine       Lopez
Jonathan      Lopez
Joseph        Lopez
Jowell        Lopez
Juan          Lopez
Kelvin        Lopez
Kermeree      Lopez
Maria         Lopez
Megan         Lopez
Octavian G    Lopez
Pedro         Lopez
Roberto       Lopez
Rocio         Lopez
Saul          Lopez
Tristian      Lopez
Vanessa N     Lopez
Willy         Lopez
John          Lopez
Maria         Lopez
Alex          Lopez
Andres        Lopez
Jowell        Lopez
Freddie       Lopez Jr
Luis          Lopez Jr.
Katherine     Lopez‐Alicea
Sugeily       Lopez‐Diaz
Frank         Lopez‐Ocasio
Jorge         Lopez‐Perez
Janice        Lopez‐Rivera
Luis          Lopez‐Ruiz
Eduardo       Lopez‐Sanabria
Luzmery       Lopez‐Santiago
Bryan         Lopez‐Tejada
Joshua        Lopez‐Tejada
Glendaliz A   Lora
Edgar         Lorah
Seth          Lorah
Layla         Lorenzana
Luis A        Lorenzana
Joham         Lorenzo


                                   82
                                SCHEDULE A

First Name   Last Name
Andrely      Lorenzo‐Castillo
Timothy R    Loring
Michael      Lott
Ricky        Lott Jr.
Ashley       Lovell
Zachary      Loverich
Rosalyn K    Lowery
Krystal      Loy
Liebra       Loy
Edgar        Lozano
Edgar        Lozano‐Molina
Emiliano     Luca
Amber        Lucarelli
Scott        Lucarelli
Wendy        Lucarelli
Joshua A     Lucas
Jossief      Luciano‐Velez
Brittni      Ludy
Nicholas     Luettgen
Jose         Lugo
Roberto      Lugo
Ysmael       Lugo
Maria        Lugo
Myrna        Lugo‐Garcia
Wanda        Luiggi
Luis         Luna
Mayra        Luna
Jose         Luna‐Mejia
Angel        Luna‐Rodriguez
Jean         Luna‐Rosario
Demarco A    Lundy
Adam         Lush
Fred         Lusk Jr
Richard      Lutterschmidt
Michael      Lutz
Joshua       Luviano‐Delvalle
Trung        Ly
Sheila       Lynch
Amanda       Mabeberry
Francis      Machibu
Christy      Maciver
Kristin      Madara
Adam         Madeira


                                    83
                               SCHEDULE A

First Name   Last Name
Steven R     Madenford
Betzaida L   Madera
Katherine    Madris
Brittney A   Magrowski
Michael      Magrowski
Juliann      Mahedy
Kofi         Mahoney
Acacia       Main
Stephen      Maiocchi
Brooke       Maione
Linda        Maita‐Chuquilla
Roxanne      Makemson
Mace         Makowe
Jason        Makowski
Norma        Malave
Victor       Malave Jr.
Joey         Maldanado
Jessica      Maldanado‐Cast
Angel        Maldonado
Jose         Maldonado
Reuben       Maldonado
Victoria M   Maldonado
Yovanny      Maldonado
Minerllys    Maldonado‐C
Wilma        Maldonado‐Caqui
Jessica      Maldonado‐Cast
Michael      Malena
Dominic      Malone
Kathelyn N   Malone
Joshua       Mammarella
Julio        Mancebo
Rosanna      Mancebo
Katery       Mancebo‐Rodrigu
Angela       Mancuso
Jeffrey      Manfred II
Michael      Manion
Sean         Mankos
Dennis       Manmiller
Ida          Manmiller
Robin        Manmiller
Troy         Manmiller
Cody         Manmiller
Philip       Manon


                                   84
                                  SCHEDULE A

First Name   Last Name
Nicole       Manon Gonzalez
Jesse        Mantle
Bryan        Mantz
Michael      Mantz
Ronald       Manwiller
Sharon       Manwiller
Craig        Manwiller
David        Manwiller
Eliezer      Manzuelta
Luis         Marcano‐Torres
Barbara      March
Brian        Marchetti
Darrell L    Marcks
Juan         Margarito
James        Margrave III
Anthony      Marin
Peggy        Marko
Dana         Markowitz
Robert       Marks
Ryan         Marks
Bradley      Marmer
Ramonita     Marmolejos
Victor       Marmolejos
Andy         Marmolejos
John         Marmolejos
Mark E       Marouchoc
Edwin        Marquez
Ernest       Marquez
Jonathan     Marquez
Lillian      Marquez
Sania        Marquez
Ken          Marquez
Edwin        Marquez Jr
Ken          Marquez Jr
Wesley       Marquez‐Lopez
Julio        Marquez‐Maldonawer
Joseph S     Marra
Rianna       Marra
Raul         Marrero‐Perez
Shaun        Marsh
Katherine    Marte
David        Martel Jr
Samuel       Martell Jr


                                      85
                            SCHEDULE A

First Name    Last Name
Bradley       Martin
Henry         Martin
John          Martin
Kenneth E     Martin
Rhomello      Martin
Crystal       Martin
Joshua        Martin
Philip        Martin
Andrew        Martin
Jason         Martin
Mike          Martin
Jeannette L   Martin Hill
Bernardo      Martinez
Diogris A     Martinez
Elvis R       Martinez
Emily         Martinez
Ivan          Martinez
Ixanelly      Martinez
Jahira        Martinez
Janet         Martinez
Jason         Martinez
Joaquin       Martinez
Jonathan      Martinez
Jose          Martinez
Joshua A      Martinez
Juniatta      Martinez
Katherine M   Martinez
Lucero        Martinez
Luis          Martinez
Maria         Martinez
Marvin        Martinez
Noah          Martinez
Pedro         Martinez
Raul          Martinez
Robert        Martinez
Valerie       Martinez
Emily         Martinez
Ivan          Martinez
Joaquin       Martinez
Yesenia       Martinez
Cynthia       Martinez
Jeffrey       Martinez
Juan          Martinez


                                86
                                   SCHEDULE A

First Name    Last Name
Luis          Martinez
Ivan          Martinez Jr.
Joe           Martinez Nones
Baltazar      Martinez‐Almanz
Alichamarie   Martinez‐Ca
Joaquin       Martinez‐Francisco
Sandra        Martinez‐Kohler
Juan          Martinez‐Rivera
Gloria        Martinez‐Rodriguez
Tania         Martinez‐Santias
Danielle      Martinez‐Temp
Korienda M    Martinson
Nicholas J    Martone
Donato        Martucci‐Robert
Kevin         Martzall
Teresa        Martzall
Malgorzata    Maryniak
Lorraine      Masollel
Luiggi        Massa
Michael       Mast
James         Masteller
Jorge         Mateo‐Huaroco
Brandon       Mathias
James         Mathieson
Elisamuel     Matias
Braulio       Matias Jr.
Scott         Matika
Justin        Matlack
Marcus        Matos
Taylor        Matos
Jorge         Matro‐Huaroco
Clifford      Matten
Michael       Mattes
Amber K       Matthews
Kavan         Matthews
Paul          Matthews
Gary          Matthews
Megan         Matz
Todd          Mauger
Darryl        Maurer
Mark          Maurer
Todd          Maurer
Ronald        Maurey Jr.


                                       87
                               SCHEDULE A

First Name   Last Name
Teresa       May
Jesus        Maya‐Valdes
Gedsver      Mayen‐Panazza
Casey        Mayer
Dennis       Mayer
Jeffrey L    Mayer
Nathan O     Mayer
Nicholas B   Mayer
Patricia     Mayer
Patrick      Mayer
Shawn        Mayer
Randy        Mayes
Angela       Mayes
Qwame        Mayo
Tiana        Mayo
Alvaro       Mayor
Mary Ellen   McAnany
Edward       McCann
Kelly        McCarthy
Susan        McCauley‐Weaver
Michael      McClusky
Derek        McCollum
Justin       McConnell
Mary         Mcconnell
Tyler        Mcconnell
Alisha M     McCoy
David S      McCroskey
Matthew J    McCullough
Joseph       Mccullough II
Wendy        McCully
Whitnee      McDermott‐Nunez
Joshua       Mcdonough
Jeffrey      Mcelrea
Jeremy       Mcelrea
Jason        McElroy
Matthew      McElwee
Joseph       McEnvoy Jr.
Andrew       Mcfadden
Ryan         McFadden
Matthew      McFall
Tyler        McGee
Sean         McGill
Daniel       McGinley


                                   88
                              SCHEDULE A

First Name    Last Name
Kyle          McGlinchey
Kelly         Mcglynn
Jason         McGowan
Mark          Mcintosh
Christopher   McIntyre
Michael       Mcintyre
Justin        McKale
Leo           Mckenna
Jeffrey       McKinney
Carl J        Mclaine
Michael       McLaughlin
Francis       McLaughlin
Larry         McLean
Michael       McMahon
Leticia       McMinn
Daniel J      McMullan
Sean          McMurtrie
Donavan       McNamee
Tony B        McNeill Jr
Curtis        McQueen
Christopher   McVaugh
Michael A     McVeigh
Barbara A     Meade
Donald        Mearkle
Peter         Meck
Scott D       MEckel
Steven F      Meckel
Allen         Meckes
Christopher   Medero
Alam S        Medina
Christopher   Medina
Roberto       Medina
Wilson E      MEdina
Martin        Medina‐Duran
Madeline      Medina‐Guzman
Jose          Medina‐Mojica
Cristian      Medina‐Veras
Brett         Meeks
Kyle          Meikle
Dakota        Meitzler
Dary          Meitzler
Dean          Meitzler
Eric          Meitzler


                                  89
                                 SCHEDULE A

First Name    Last Name
Jason         Meitzler
Jennifer      Meitzler
Mark          Meitzler
Peter G       Meitzler
Ana J         Mejia
Jose          Mejia
Manuel        Mejia
Jorge         Mejia‐Fonseca
James M       Melander
Kaycee L      Melander
Christopher   Melander
Daniel        Melcher
Eduardo       Melendez
Geovanny      Melendez
Harry A       Melendez
Jose          Melendez
Nilsa         Melendez
Tomas         Melendez
Juan          Melendez‐Roth
Cavin         Meleta
Myrtha        Meletiche
Elsy          Melgar
Joseph        Melley
William       Mellor Jr.
Leandro       Mena
Edward        Mendez
Edwin         Mendez
Esteban       Mendez
Florencio     Mendez Jr
David         Mendoza
Juan          Mendoza
Christian     Menet
Barry R       Mengel
Ryan          Mengel
Steven        Mengel
Jo‐Lyn        Mengel
Todd          Mengel
Troy          Mengel
Richard       Mengel III
Robert        Mengle
William       Menjivar‐Hidalgo
Gustave       Mensah
Justin        Mentesana


                                     90
                            SCHEDULE A

First Name   Last Name
Amanda       Mercado
Ariel        Mercado
Eduardo      Mercado
Jorge        Mercado
Kevin        Merced‐Colon
Juan F       Mercedes
Ramon        Mercedes
Michael      Mercier Jr.
Beth A       Merkel
Forrest      Merkel
Kim          Merkel
Matthew T    Merkel
Michael      Merkel
Dennis       Merkel
Kim          Merkel Jr
Timothy      Merkel Sr.
Tyler        Merkert
Skylar       Merolillo
Gary C       Merritt
Cody         Mertz
Jeffrey      Mertz
Keith        Mertz
Christina    Mertz
Michael      Mertz
Tim          Mertz
Franc        Merz II
Gary         Messersmith
Jason        Messersmith
Barry        Messner
Daniel       Messner
Barry        Messner
Barry        Messner Jr.
Austin       Mest
Joseph       Mest
Robert       Mest Jr.
Michael      Meyer
John         Meyer III
Jared        Meyers
Tyler        Miccicke
Deborah      Michael
Steven       Michael
Mathew J     Michaels
Michael      Michalczik


                                91
                              SCHEDULE A

First Name    Last Name
Sean          Michiels
Shawn         Mickonis
Gregory       Middleton
Robbie        Mierzejewski
Rory          Mierzejewski
Ross          Mierzejewski
Brianna       Milane
Darline       Miler
Jonathan      Miles
Heather       Miles
Paul          Miley
Romario       Milfort
Stanley       Milfort
Roberto       Millan‐Butler
Brittany      Millard
Adam L        Miller
Anthony       Miller
Benjamin      Miller
Chad          Miller
Christapher   Miller
Crissy        Miller
Curtis        Miller
Darline       Miller
Darry         Miller
David         Miller
Gregory       Miller
Jamie         Miller
Jason         Miller
Jay B         Miller
Jeffrey       Miller
Jessica L     Miller
Joel L        Miller
Jonathan      Miller
Joshua        Miller
Karli         Miller
Keenan        Miller
Keith         Miller
Kenneth       Miller
Kevin         Miller
Kirk          Miller
Mark          Miller
Nathan        Miller
Randy         Miller


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                                SCHEDULE A

First Name    Last Name
Richard       Miller
Roger         Miller
Russell       Miller
Sherry        Miller
Stephanie     Miller
Susan         Miller
Timothy A.    Miller
Timothy D.    Miller
Tyler         Miller
Brenda        Miller
Celia         Miller
Guy           Miller
Kevin         Miller
Lynn          Miller
Michael       Miller
Vincent       Miller II
William       Miller III
John          Miller Jr
Leo           Miller Jr
Michael       Miller Jr.
Samuel        Miller Jr
Charles       Miller Jr.
Alexandrea    Milliano
Joziah        Millin
Christopher   Millington
Dylan         Millisock
Nathan        Millisock
Maria         Mills
Thomas        Mills
Joshua E      Minaya
Pablo         Mingucha
Alejandro     Mingucha
Enrique       Mingucha‐Rosale
Andrew        Minnich
Austin        Minnich
Clayton       Minnich
Keith         Minnich
Tina          Minnich
Jamie         Minnich
Robin         Minnich
KAITLYN       MINTZ
Ciara J       Miranda
Javier        Miranda


                                    93
                                SCHEDULE A

First Name    Last Name
Jordan M      Miranda
Jose          Miranda
Kevin M       Miranda
Irvin         Miranda
Manuel        Miranda Sr.
Jorge         Miranda‐Busanet
Anthony       Miranda‐Rosado
Desirae       Miseyko
Eric R        Mitchell
Thomas        Mitchell
Tyler         Mitchell
Ashley        Mitchell
Diane         Mittl
Robert        Mitzel
Jose          Mizhquiri
Anthony       Mizic
Seth          Moatz
Steven        Moatz Jr.
Jared         Modesto
Paul          Moffat
Pompilica A   Mohan
Karl          Mohn
Kyle          Mohn
William       Mohn
Anthony       Mohr
Michelle      Mohr
David         Mohrey
Chris         Mohring
Joseph E      Moise III
Cecilio       Mojica
Julio         Mojica Jr
Daniel        Molina
Darnell J     Molina
Erika         Molina
Moses         Molina
Libia         Molina‐Vera
David         Moll
Joby          Moll
Lydia         Moll
Maxwell       Moll
Sheila        Moll
Jacob         Moll
Scott         Moll


                                    94
                                 SCHEDULE A

First Name    Last Name
Jeffrey       Mompoint
Ian           Moncion Garcia
Emmanuel      Moncion‐Perez
Daisy         Mondragon Valdez
Yudelka D     Monegro
George        Mongrain
Christopher   Monroe
Michael       Montagner
Jaime         Montalvo
Melvin        Montalvo
Gilbert       Montalvo‐Perez
Marcos        Montanez‐Merca
Arturo        Montes
Derick        Montes
Michael       Montgomery
Carmen        Montilla
Danita        Moore
Ethan         Moore
Glenny        Moore
James         Moore
Steven        Moore
David         Moore
Rochell       Moore
Alexis        Moore Roman
Marcos        Mora
Maria         Mora
Guillermo     Mora‐Cortes
Andrew        Morales
Anthony       Morales
Antonia       Morales
Antonio       Morales
Celso N       Morales
Cristian      Morales
Jesse         Morales
Jesus         Morales
Kelly         Morales
Manuel        Morales
Miguel        Morales
Shanelle      Morales
Skylie        Morales
Wilgen O      Morales
Andrew        Morales
Jessica       Morales


                                     95
                                   SCHEDULE A

First Name     Last Name
Reinaldo       Morales
Richard        Morales Jr.
Jayson         Morales Santiago
Vivian         Morales‐ Serrano
Jacqueline     Morales‐Luciano
Jose           Morales‐Luciano
Ana            Morales‐Rodriguez
Omar           Morales‐Vallejo
Christopher    Moran
Jason          Moran
Jessica        Moran
Fredy          Morataya
Maria          Mora‐Zavala
Hector         Morban
Jonathan       Mordaunt
Jean           Morel
Pamela         Morel
Elmer          Moreno
Jose           Moreno
Alyssa         Moreno
Yaritza        Moret‐Gonzalez
Claudia        Morgan
Darryl         Morgan
Brenda         Morgan
Brendan R      Morgan
Sebastian      Morgan
Kristopher L   Morganti
Francis        Morley
Kevin          Morrillo
Matthew        Morris
Promise A      Morris
Ryan           Morris
Timothy        Morris
Robert         Morris Jr.
Anthony        Morris‐Barbee
Byron          Morrison
Michael        Morrison
Tuesday        Morrison
Timothy        Morrissey
Andrew         Morton
Alexander      Moscoso
Bailey         Moser
Christopher    Moser


                                       96
                            SCHEDULE A

First Name    Last Name
Dennis        Moser
Jenna         Moser
Larry         Moser
Michael       Moser
Tyler         Moser
Naomi         Mosey
Tyler         Moszcienski
William       Motzer
Leonard       Moulton
Andrew        Mountz
Gail          Mountz
Bryan         Mourar
Joull         Moussa
Andrew        Moyer
Anthony       Moyer
Barry         Moyer
Bradley       Moyer
Candice       Moyer
Carol         Moyer
Christopher   Moyer
Cody          Moyer
Cori          Moyer
Daniel        Moyer
Darryl        Moyer
David         Moyer
Dwayne        Moyer
Edwin         Moyer
Jonathan      Moyer
Joseph        Moyer
Keegan        Moyer
Keri C        Moyer
Kevin R       Moyer
Kristy        Moyer
Kyle          Moyer
Leon E        Moyer
Mark          Moyer
Marlin        Moyer
Robert        Moyer
Serenity      Moyer
Steven        Moyer
Timothy J     Moyer
Valerie       Moyer
Daniel        Moyer


                                97
                               SCHEDULE A

First Name   Last Name
Glen         Moyer
Jeremy       Moyer
Kevin        Moyer
Scott        Moyer
Troy         Moyer Jr
David        Moyer Sr.
Jay          Muhr
John         Muhr
Isabella     Mullen
James A      Mullen
Jonathan     Mullen
Jordan       Mullen
Jared        Mullins
Bartine      Mummey
Ileana       Muniz
Paul         Muniz
Scott        Muniz
Zoraida      Muniz
Ileana       Muniz
Steve        Muniz‐Feliciano
Cristian     Munoz
Erick        Munoz
Felix        Munoz
Jose         Munoz
Erick        Munoz
Samuel       Munoz
Brian        Murphy
Carl         Murphy
Chelsey      Murphy
Glen         Murphy
Kevin L      Murphy
Sean         Murphy
Carol        Murphy
Alexander    Murray
Brandon      Murray
Matthew      Murray
Richard      Musser
Elton        Muth
Mark         Muth
Nancy        Muth
Roger        Muth Jr.
Craig A      Muthersbaugh
James        Muthersbaugh


                                   98
                               SCHEDULE A

First Name   Last Name
Martin       Mutter
Jeffrey      Myers Jr
David        Nabozny
Taylor       Nabozny
Susan        Naftzinger
Michael      Nagy
Marquis      Narvaez
Matthew      Naugle
Scott        Nausbaum
Oscar J      Navarrete‐Bravo
Allison      Navarro
Travis       Navarro
Kevin O      Navarro‐Rosado
Emely A      Navedo
Michael      Nayduch
Jose Joel    Nayga
Anibal       Nazario
Veronica     Nazario‐Rosari
Kevin        Nazario‐Yanzani
Raymond      Negri
Ayda         Negron
Jorge        Negron
Kirk         Neider
Russell      Neider
Brian        Neider
James        Neidermyer
Jeffrey      Neidermyer
Evan         Neidermyer
James        Neidermyer Jr.
Alton        Neidlinger
Debra        Neidlinger
paul         Neidlinger
Ronald       Nein
Nicholas     Nelligan
Donna L      Nelson
Karl         Nelson
Terrell      Nelson
Thomas       Nesfelder
Todd         Nester
Matthew      Nester
Timothy      Neubauer
Lily         Neuin
Jose         Nevarez


                                   99
                                SCHEDULE A

First Name    Last Name
Jeffrey       Nevison
Troy          Newhard
Daniel        Newman
Ryan          Newman
James         Newton
Joshua        Neyer
Danny         Nguyen
Kimberly      Nguyen
Michael       Nguyen
Tuan          Nguyen
Adam          Nichol
Brian         Nicholas
Ryan          Niethammer
Christopher   Nieves
Jose          Nieves
Matthew       Nieves
Ramon         Nieves
Samuel        Nieves
Jimmy         Nieves
Miguel        Nieves
Tania         Nieves
Ricky         Nieves Quinones
Hector        Nina‐Lopez
Jared         Nixon
Joseph        Nkansah
Vishwas       Nln
Daquan        Nock
Frank S       Noecker
Sean          Nolan
Christopher   Nolasco
Jhoan         Nolasco‐Suriel
Carl          Noll
Dennis        Noll
Lori          Noll
Robert        Noll
Robin L       Noll
Ronald        Noll
Seth          Noll
Thomas        Noll
Jamie         Noll
Timothy       Noll
Amy           Nonnemacher
Aaron         Norman


                                   100
                                SCHEDULE A

First Name    Last Name
James         Norman
Yvonne        Norman
Kamar         Norville
Dante         Nosti
Tyler         Notario
Joseph        Novak
Scott         Novik
Garrett       Novotnak
Melonee       Nowakowski
Natasha       Nowakowski
Shawn         Nowakowski
Youke         Nugent
Alan          Nunez
Argenis       Nunez
Arlovia       Nunez
Christian     Nunez
Enerito       Nunez
Fausto        Nunez
Francis       Nunez
Jaritza       Nunez
Marlenny      Nunez
Miguel        Nunez
Saritah       Nunez
Yanite        Nunez
John          Nunez
Jose          Nunez
Ruben         Nunez Jr.
Henry         Nunez‐Cabrera
Rafael        Nunez‐Castaneda
Steven        Nunez‐Cruz
Marisella     Nunez‐Lozano
Yanite        Nunez‐Mendez
Jake‐Anthon   Nye
Michael       Nye
Adam          Oaks
Julian        O'Bryant
Ivelisse      Ocasio
Melisse       Ocasio
Nathaniel     Ocasio
Karen         O'Donnell
Daniel        O'Donnell
David         O'Donnell
Michael       Oels


                                   101
                                  SCHEDULE A

First Name   Last Name
Jeremy       Ofsharick
Enomanren    Ogbebor
Paul         Ohl
Randy K      Ohlinger
Stewart      Ohlinger
Dustin       Ohlinger
Jancarlos    Olavarria‐Gonzales
Jose         Olavarria‐Lopez
Austin       Oldt
Annery       Olivares
Juan         Olivares
Marco        Olivares
Cristian     Olivencia
Jesus        Olivencia
Guercon C    Oliver
Matthew      Oliver
Angel        Oliveras
Sully        Olivo
Carlos       Olivo‐Santos
Carlos       Olivo‐Santos Jr
Raymon E     Olmo
Sara L       Olmo
John         Olmstead
Scott        Olsen
Matthew      Olson
Innocent     Ongaga
Neftali      Oquendo
Luis         Oquendo
Angel L      Oquendo II
Sorichell    Oquendo‐Patino
Harry        Orbann Jr.
Oscar        Ordonez
Angelo       Ordonez
Nicole       Oriol
Sydney       Orlando
Michael      Orndorff
Angel        Orozco
Ralph        Orozco
Eduardo      Orozco‐Avila
Wilfredo     Orsini
Thabetha     Orta‐Roman
Jonathan     Ortega
William      Ortega


                                     102
                                SCHEDULE A

First Name   Last Name
Alexander    Ortega II
Carlos       Ortega‐Hernandez
Andres       Ortiz
Brenda       Ortiz
Daniel       Ortiz
David        Ortiz
Jenitza      Ortiz
Jodi         Ortiz
Luis J       Ortiz
Luz D        Ortiz
Maria I      Ortiz
Maribel      Ortiz
Nicholas     Ortiz
Pedro        Ortiz
Rodney       Ortiz
Tanisha      Ortiz
Todd         Ortiz
Anthony      Ortiz
Jose         Ortiz Del Valle
Samuel       Ortiz Jr
William      Ortiz Jr Roman
Francisco    Ortiz Jr.
Nick         Ortiz‐Feliciano
Jainisse     Ortiz‐Merced
Luis         Ortiz‐Merced
Jonathan     Ortiz‐Rios
Alexander    Ortiz‐Rivera
Juan         Ortiz‐Soto
Yahaira      Ortiz‐Vega
Michael      Ortiz‐Villavice
Connie       Orwan
Dean         Orwan
Matthew      Osborne
David        Oskiera
Daniel       Osorio
Kerry        Ossman
Garth        O'Sullivan
Bruce        Oswald
Dean S       Oswald
Larry        Oswald
Ryan L       Oswald
Shea         Oswald
Scott        Oswald


                                   103
                                SCHEDULE A

First Name   Last Name
Beata        Osypka
Erick        Otero
Justin R     Otis
Cindy        Ott
Kari         Ott
Justin       Ott
Nicholas     Otter
Charles      Otterbein
Dean         Ouellette
Yarisabel    Ovalle de Castro
Eligio       Ovalle‐Cisneros
Dimitri      Ovid
Carlos       Oviedo
Jose         Oviedo
Joshua       Owoc
Jesse        Oxenreider
Megan        Oxenreider
Nikaulis     Ozuna
Nathen       Pabon
Santos J     Pabon
Sheyliann    Pabon‐Negron
Demetrius    Pacheco
Jose         Pacheco
Juan C       Pacheco
Juan M       Pacheco
Robert       Pacheco
Saul         Pacheco
Cecily       Pachuilo
Bohdan       Pacura
Maribel      Padilla
Jacob        Padilla
Jose         Padilla
Richard      Padilla
Elio         Pagan
Karen        Pagan
Damian       Pagan
Victor       Pagan Jr.
Angel        Pagan‐Silva
Brandon      Painter
Nicole       Palacio
Marcos       Palanco
Charleny     Pallero Jimine
Scott        Palm Jr.


                                   104
                                  SCHEDULE A

First Name    Last Name
Curtis        Palmer
Joel          Palmer
Shane         Palmer
Luis          Paneto
Luis          Paneto Jr.
Larry         Panik
Philip        Papa
Analuisa      Pardo
Orlando       Pardo
Ralph         Parenti
Gerald        Paris
Albert        Parker
Harry         Parker Jr
Denise        Parkhill
Osvaldo       Parrilla
Trevor D      Parris
Michael P     Parrish
Shawn         Parsons
James         Paul
Sandra        Paul
Fulvio        Paula
Jesus         Paula‐De Los Sant
Adderly       Paula‐Gomera
John          Paulas
Daniel        Pauley
Gregory       Pauley
Larry C       Pauley
Stacy         Pauley
Charles       Pauley Jr
Kenia         Paulino
Nelsa         Paulino
Ramona        Paulino
Andres        Paulino‐Acevedo
Daniel B      Pavlick
Gregory J     Pavlick
Javier        Pavon‐Adames
Corey         Peddigree
Antonio       Pedraza
David         Peek
Franklin      Peguero‐Martine
Christopher   Peguero‐Mercede
Ryan          Pelaez
John          Peleschak IV


                                     105
                                   SCHEDULE A

First Name    Last Name
James         Pelker
Jose          Pellecer Jr.
Sarah         Pelliccia
Shawn         Pelter
Alexis        Pena
Balbino A     Pena
Lisbeth       Pena
Oliver        Pena
Benito        Pena
Miquel        Pena Jr
Wilfred       Pena Jr
Jennifer I    Pena‐Alvarado
Karen         Pena‐Alvarado
Carlos        Pena‐Arias
Esteban       Pena‐Astacio
Estaban       Pena‐Estacio
William       Pena‐Gallo
Marvil        Pena‐Garces
Denny         Pena‐Garcia
Andres        Penaloza
Francisco     Penaloza‐Fernandez
Francheska    Pena‐Rivas
Dean          Pena‐Rogers
David         Pendleton
Dean          Pennypacker
Jarrid        Pennypacker
David         Pepe
Jelin         Peralta
Juan          Peralta
Guillermo     Peralta
Maria         Peralta
Edwin         Peralta‐Santana
Adalberto     Perez
Adam          Perez
Ariel         Perez
Bryan         Perez
Daisy         Perez
Felix         Perez
Jayden        Perez
Jeffrey       Perez
Jordan        Perez
Juan A        Perez
Katherine M   Perez


                                      106
                                 SCHEDULE A

First Name    Last Name
Kayrin        Perez
Miguel        Perez
Nereyda       Perez
Norberto      Perez
Ralphie       Perez
Raymond       Perez
Ricardo       Perez
Ronny         Perez
Sheila        Perez
Virginia      Perez
Jonathan      Perez
Jeremy        Perez
Edwin         Perez II
Leon          Perez Jr II
Leslie O      Perez‐Cruz
Victor        Perez‐Dejesus
Mariana       Perez‐Jiminez
Moises        Perez‐Martinez
Randy         Perez‐Matos
Jose          Perez‐Mercado
Jonathan E    Perez‐Morel
Lisbeth M     Perez‐Morel
Luis A        Perez‐Negron
Fernando      Perez‐Pichardo
Chrystopher   Perez‐Reyes
Edward        Perez‐Rosa
Franklin      Perez‐Rosado
Edgar         Perez‐Santiago
Gary          Pergola
Christopher   Perna
Tatiana       Perocier‐Cruz
Sarah         Peter
Michael       Peterman
Chad          Peters
Matthew       Peters
Michael P     Peters
Robert        Peters
Sean          Peters
Bruce         Peters
Geoffrey      Peters
Tyler         Peters‐Hitchcock
Kristopher    Peterson
Christian K   Peterson JR


                                    107
                                  SCHEDULE A

First Name   Last Name
Joseph       Peticca
Peter        Petrole
Taylor       Petrowsky
Timothy      Petrowsky
Michael      Petrucelli
Kim          Pettigrew
Mark         Pettis
Jason M      Pfautz
Rebecca      Pfautz
Brett        Pflueger
Bryan        Pflueger
William      Pflueger
Randy        Pfrom
Nghia        Phan
Mark A       Phile
Eric         Philhower
Alex         Philistine
Kristy       Phillip
Adam         Phillips
David        Phillips
Derin        Phillips
Jason        Phillips
Joseph       Phillips
Peter        Phillips
Sean A       Phillips
Troy         Phillips
Colton A     Piccolo
Hector       Pichardo
Andy         Pichardo‐Espina
Yaritza I    Pichardo‐Rodriguez
Ted          Pieller
Frank        Pierre‐Louis
Keith L      Piersol
Todd         Pietrobono
Frank        Pilgert
Ricardo      Pimentel
Oliver       Pina
Kristy       Pinder
Martin       Pinder
Rebecca M    Pineda
Matthew      Pinkos
Ana I        Pino
Ross         Pinter


                                     108
                                 SCHEDULE A

First Name   Last Name
Richard      Piotrowski
Bruce        Pitkin
Angelica     Pitre
Norberto     Pitre
Kelli        Pittman
Thomas       Pittman Jr.
Jose         Pizano Zurita
Barbara      Placencia
Esdras       Placencia
Raydin       Plasencio‐Garciri
Yahaira      Plaza‐Rodriguez
Rick         Plempel
Frank        Plesnevich
Frank J      Plesnevich Jr
Luis         Plourde
Edison       Polanco
Gilberto     Polanco
Luis         Polanco
Marcos       Polanco
Yajela       Polanco
Jean         Polanco‐Rodriguez
Anthony      Politi
Jason        Pollock
Robert       Pollock
Cesar        Pomales
Elena        Ponce
Karl A       Ponce
Marvin       Ponce
Kaitlyn      Pope
Gerardo      Popoter
Eric         Popowich
Ryan         Porr
Wayne        Porr
Gary         Portalatin
John         Porter
Thomas       Porter
Israel       Portes‐Rivas
Tyler        Post
Michael      Postetter
Jeffrey      Potosky
Matthew      Potosky
James        Potts
Jeffrey      Potts II


                                    109
                              SCHEDULE A

First Name    Last Name
Jason         Poulios
Kelly         Poust
Jeremy        Powell
Cherita       Powell
Joshua        Prat
Brenda        Pratzner
Dakota        Price
Thomas        Pride
Harold        Prince
Matthew       Printz
Susana        Printz
Matthew       Pritchard Jr
Brian         Prizer
James         Prophet
Fred          Prout Jr
Jason         Pruitt
Christina     Prutzman
Joshua        Przybyszewski
Chad          Pugh
Stanley       Pugh
Timothy       Pulaski
Theresa       Purdy
Mark          Putlock
Tanner        Putt
David         Quell
Kenneth P     Quell
Louis M       Query
Luane M       Query
Carlos        Quezada
Ricardo J     Quezada
Michael       Quick
Billy         Quickle
Allen         Quier
Sterling      Quier
Tanya         Quier
Carlos D      Quiles
Raymond       Quill
Cindy         Quillman
Christopher   Quillman
Richard       Quillman Jr
Jose          Quinones
Luis          Quinones
Sandraly      Quinones


                                 110
                                 SCHEDULE A

First Name    Last Name
Juliss        Quinonez‐Rivera
Michael       Quintana
Jose          Quintana‐Zavala
Bryan         Quinter
Susan J       Quinter
Adrian        Quintero
Ana           Quintero
Cain          Quintero
Jose L.       Quintero
Bonnibel      Quintero‐Chavez
Marjorie      Quirin
Wes           Quirin
Mark          Quirin Jr.
Hector        Quirindongo
Hector        Quirindongo III
Brunilda      Quituizaca
Eric          Rabenold
Kelly         Rabert
Jesse         Rabert
Juan          Racevedo‐DeJesus
Jesse         Radcliff
Zakary        Radka
Thomas        Ragonese
Aaron         Rahim
Cody          Rahn
Mounsif       Raissi
Ryan          Ramich
Jennifer      Ramich
Adam          Ramirez
Carlos        Ramirez
Estervin      Ramirez
Hector        Ramirez
Jeffry        Ramirez
Joan          Ramirez
Joe           Ramirez
Laura         Ramirez
Ramon         Ramirez
Richard       Ramirez
Christopher   Ramirez
Francis       Ramirez‐Feliz
Joe           Ramirez‐Garcia
Oscar         Ramirez‐Gonzales
Martha        Ramirez‐Gonzalez


                                    111
                                SCHEDULE A

First Name   Last Name
Miguel       Ramirez‐Ramirez
Aron         Ramos
Eunice       Ramos
Jose         Ramos
Joshua       Ramos
Keren        Ramos
Luis         Ramos
Ana          Ramos
Armando      Ramos
Hector       Ramos
Samuel       Ramos
Stephanie    Ramos‐ Diaz
Juan         Ramos Jr
Katherine    Ramos Vazquez
Eli          Ramos‐Aponte
Arabeily     Ramos‐Chalas
Cynthia      Ramos‐Cintron
Nycol        Ramos‐De La Cruz
Wilfredo     Ramos‐Nieves
Wilfredo     Ramos‐Pratts
Jordan       Randazzo
Nickemah     Randolph
Jason        Rank
Daniel       Rapp
Gail         Rarick
Robert E     Rarick III
Nicholas     Rasavage
Kenneth      Raser
Brad J       Rauch
Curtis       Rauch
James        Raudenbush
Marc         Ray
Megan        Ray
Theresa      Ray
Bruce        Ray
Karen        Rayburn
Chad         Rea
Eleanor      Readinger
Nicholas     Readinger
Roger        Readinger
Jerry        Readinger
Ryan         Readinger
Travis       Readinger


                                   112
                          SCHEDULE A

First Name   Last Name
Anthony      Ream
Brenda J     Ream
Scott        Ream
Timothy      Ream
Dianna       Reber
Benjamen     Reed
Brian        Reed
Dorothy      Reed
Ethan        Reed
Jacob        Reed
Jesse        Reed
Matthew      Reed
Michael J    Reed
Timothy      Reed
William      Reed
Rodney       Reed
Jason        Reese
Matthew      Reeser
Stephen      Reeser
Franklin     Reeser
Thomas       Regan II
Kevin M      Regnier Jr
Donald       Rehrig II
Justin       Reich
Brandon      Reichard
Jarrett      Reichard
Karen        Reichard
Melinda      Reichel
Matthew      Reichert
Mike         Reichert
Romaine      Reid
Dirk         Reidenhour
Jennifer     Reidenhour
Richard D    Reidenhour
Andrew       Reider
Leonard      Reider
Hong         Reider
Blanche      Reidnauer
Chad         Reidnauer
Kevin        Reilly
Ray          Reilman
Mark         Reimer
David        Reimer


                             113
                                SCHEDULE A

First Name    Last Name
Debra         Reimert
Kenneth       Reimert
Carole        Reimert
Andrew P      Reinert
Barbara A     Reinert
Denise L      Reinert
Hershel       Reinert
Justin        Reinert
Kurt          Reinert
Mckenzie      Reinert
Todd A        Reinert
Michael       Reinhard
Thomas A      Reinhard
David         Reinhard
Richard       Reinhard
Zachary       Reinhard
Dennis        Reinhart
Jeffrey       Reinhart
Noreen V      Reinhart
Kevin         Reinhert
Robin         Reinkemeyer
Brandon       Reis
Dennis        Reis
Kendra        Reiseg
Philip G      Reiss
Troy          Reiss
Christopher   Reitnauer
Barbara       Reitz
Gregory       Rejniak
Adam          Remaly
Richard       Remigio
Mark A        Renninger Jr
Edwin         Rentas
Miguel        Rentas
Kermit        Rentas Jr
Aaron         Rentschler
Michael       Renzi
Christopher   Reph
Chad          Reppert
Christopher   Ressler
Ashley        Reston
Yamilet       Resto‐Rodriguez
Anyelo        Restrepo‐Abord


                                   114
                             SCHEDULE A

First Name    Last Name
River         Rettew
Joseph        Reuther III
Heriberto     Revera
Militza       Revilla
Alexander     Reyes
Amarillis     Reyes
Andres        Reyes
Angel         Reyes
Edwin         Reyes
Elena         Reyes
Francis       Reyes
Isaias        Reyes
Johanny       Reyes
Jose          Reyes
Luis          Reyes
Marco         Reyes
Norberto      Reyes
Raul          Reyes
Wilbert E     Reyes
Yudelka       Reyes
George        Reyes
Jurgen        Reyes
Migdalia      Reyes
Migmar        Reyes
Orlando       Reyes
Wilbert       Reyes
Yessenia      Reyes
Joel          Reyes
Jose          Reyes Jr
Ramon         Reyes‐Burgos
Angel         Reyes‐Flores
Francisco O   Reyes‐Flores
Joel          Reyes‐Mendez
Efrain        Reyes‐Mengel
Ybelka        Reyes‐Reyes
Angel         Reyes‐Robles
Luis          Reyes‐Rosa
Misael        Reyes‐Sierra
Phillip       Reyna
Abraham       Reyna‐Garo
Jorge         Reynoso
Alexis        Rhoads
Jarrett E     Rhoads


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                                SCHEDULE A

First Name   Last Name
Ronald       Rhoads
William      Rhoads Jr
Daniel       Rhode
Daryl        Rhode
Bradley      Rhodes
Rob          Rhodes
Terri        Rhodes
Devon        Rhodes
Stephen      Rhodes Sr.
Ryan         Rhodes‐Reber
Edgardo      Ribera
David        Rice
Evan         Rice
Michael E    Rice
Thomas       Rice
Tyler        Rice
Drew         Rice
John         Rich
Brian        Richard
Deborah      Richard
Kevin        Richard
Hector       Richardo
Benjamin     Richards
Brandon      Richards
Brian K      Richards
Adele        Richardson
Emmakai      Richardson
Rabel        Richardson‐Medin
Miguel       Richiez‐Mota
Matthew K    Richmond
Louis        Richuitti
Landon       Rickert
Ricardo M    Rico
Jacob        Riddle
Robert       Ridenour
Matthew      Riechert
Charles H    Riedel
April        Riegel
Breon        Riegel
David P      Riegel
Glenn K      Riegel
Ryan         Riegel
Susan        Riegel


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                              SCHEDULE A

First Name   Last Name
Ty           Riegel
Vincent      Riegel
Arnol        Riera
Jose         Riera
Zachary      Riggeal
Richard      Riggleman
Matthew      Riggs
Jarett       Rightnour
John         Rinehart
Rosa         Rinehart
Renee E      Ringler
Jeffrey      Rinker
Jeremy       Rinker
Jon          Rinker Jr.
Luis         Rios
Rafael       Rios
Anthony      Rios
Isaac        Rios
Rafael       Rios Jr
Nelson       Rios‐Perez
Luis         Rios‐Rivera
Jeremy       Rioux
Brenda L     Rissmiller
Gerald       Rissmiller Jr
John P       Ritzko Jr
Jose         Rivas
Alejandro    Rivas‐Amaro
Juan         Rivas‐Martinez
Clever       Rivas‐Molina
Aldo L       Rivera
Alexander    Rivera
Alyssia      Rivera
Angel        Rivera
Anthony      Rivera
Antonio      Rivera
Brandon      Rivera
Crystal      Rivera
Daniel       Rivera
Dante        Rivera
Darrell J    Rivera
Desiree      Rivera
Douglas      Rivera
Edgardo      Rivera


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                               SCHEDULE A

First Name   Last Name
Edwin        Rivera
Emanuel      Rivera
Emily        Rivera
Ezri         Rivera
Gekaur       Rivera
Guillermo    Rivera
Hector       Rivera
Jefte        Rivera
Jha‐Lil      Rivera
Jimmy        Rivera
Joel         Rivera
Jonathan     Rivera
Jorge        Rivera
Joseph       Rivera
Jovan        Rivera
Juan         Rivera
Luis         Rivera
Marianela    Rivera
Nelson       Rivera
Osvaldo      Rivera
Rachel       Rivera
Ricardo      Rivera
Sabdy        Rivera
Samuel       Rivera
Sergio       Rivera
Shardae      Rivera
Valentin     Rivera
Zimri        Rivera
Emanuel      Rivera
Hansel       Rivera
Jose         Rivera
Jovan        Rivera
Kenneth      Rivera
Marianela    Rivera
Tommy        Rivera
Armando      Rivera Colon
Alfredo      Rivera Jr
Ramon        Rivera Jr.
Brandon      Rivera Santiago
Jaylyn       Rivera Santiago
Eric         Rivera‐Amole
Ismael       Rivera‐Bonilla
Jarelin A    Rivera‐Lopez


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                                 SCHEDULE A

First Name   Last Name
Jomar X      Rivera‐Lopez
Jose         Rivera‐Maldonades
Daniel       Rivera‐Maldonado
Jose         Rivera‐Martinez
Fernando     Rivera‐Molina
Angel        Rivera‐Nigaglioni
William      Rivera‐Ortiz
Edgar J      Rivera‐Rivera
Josue        Rivera‐Rivera
Jose         Rivera‐Roman
Rafael       Rivera‐Sanchez
Adalberto    Rivera‐Santiago
Santiago     Rivera‐Serrano
Alberto      Rivera‐Vazquez
Amanda       Rizzuti
David        Rizzuti
William      Rizzuti
Renato       Rizzuti Jr.
Danny        Roasario
Shane        Robb
Adam         Roberts
Jarvis       Roberts
Michael S    Roberts
Richard      Roberts Jr
Deshonj      Robertson
Hagibh       Robertson
Jean         Robertson
Shawn        Robertson
Alexander    Robinson
Andrew       Robinson
Margaret A   Robinson
Abraham      Robles
Jose         Robles
Maritza      Robles
Michael      Robles
Andres       Robles
Omar         Robles
Abraham      Robles III
Jose O       Robles‐Mora
Natalia      Rocha
Keyla        Rodan
Brett        Rodolff
Alvin        Rodriguez


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                          SCHEDULE A

First Name   Last Name
Ashley       Rodriguez
Benjamin     Rodriguez
Brian        Rodriguez
Carmen       Rodriguez
Christian    Rodriguez
Claudio      Rodriguez
Daniel       Rodriguez
Derrick      Rodriguez
Diego        Rodriguez
Edwin        Rodriguez
Elvin        Rodriguez
Elvis        Rodriguez
Erick        Rodriguez
Erika        Rodriguez
Faith        Rodriguez
Freddy       Rodriguez
Giovanny     Rodriguez
Gregory      Rodriguez
Grisel       Rodriguez
Henry        Rodriguez
Hyamaliz     Rodriguez
Ivan         Rodriguez
Jadiver      Rodriguez
Jayson       Rodriguez
Jefter       Rodriguez
Jeomar       Rodriguez
Joermi       Rodgriguez
Jose         Rodriguez
Julio        Rodriguez
Junuel       Rodriguez
Katia        Rodriguez
Katthia N    Rodriguez
Luis A       Rodriguez
Marcelino    Rodriguez
Marla        Rodriguez
Melanie      Rodriguez
Melizza      Rodriguez
Mercedes     Rodriguez
Miriam       Rodriguez
Ronald       Rodriguez
Stephanie    Rodriguez
Timothy      Rodriguez
Tomas        Rodriguez


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                                    SCHEDULE A

First Name    Last Name
Yoanndy       Rodriguez
Christopher   Rodriguez
Joermi        Rodriguez
Johanny       Rodriguez
Johnny        Rodriguez
Jose          Rodriguez
Licet         Rodriguez
Nerso         Rodriguez
Noel          Rodriguez
Quinten       Rodriguez
Yanylieen     Rodriguez
Juan          Rodriguez Coste
Jose          Rodriguez III
Ivan          Rodriguez Jr.
Miquel        Rodriguez Vasqu
Albert        Rodriguez, Jr.
Carlos        Rodriguez‐Avile
Zuleika       Rodriguez‐Castro
Jonathan      Rodriguez‐Castro
Ruben         Rodriguez‐Castro
Marcos        Rodriguez‐Dejes
Paul          Rodriguez‐Delaros
Yamil         Rodriguez‐Gonzalez
Juan          Rodriguez‐Lopez
Karla         Rodriguez‐Lugo
Elizanneth    Rodriguez‐Ma
Erison        Rodriguez‐Martin
Kelvin        Rodriguez‐Martin
Alexander     Rodriguez‐Matos
David         Rodriguez‐Merca
Jose          Rodriguez‐Ortiz
Elving        Rodriguez‐Ramos
Julio         Rodriguez‐River
Jesus         Rodriguez‐Rivera
Sashira       Rodriguez‐Rivera
Bryam         Rodriguez‐Rodri
Jose          Rodriguez‐Rodriguez
Henry         Rodriguez‐Rosario
Albert        Rodriguez‐Santiago
Jose          Rodriguez‐Torres
Luis          Rodriguez‐Vasquez
Nicholas      Roeder
Christopher   Roell


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                             SCHEDULE A

First Name   Last Name
Erwin        Rogers
Fabiola      Rogers
John J       Rogers
Steven       Rogers
Aaron        Rohrbach
Jeffrey      Rohrbach
Kenneth      Rohrbach
Roy          Rohrbach
Ian          Rohrbach
Michael      Rohrbach
Constantin   Roibu
Arlene T     Rojas
Jesus        Rojas
Roberto      Rojas
Jesus M      Rojas Jr
George       Rojas‐Mendoza
Luis         Rojas‐Ocasio
Joseph       Roland
Brooke       Roland
Anthony      Rollins
Jarrett      Rollins Jr
Ryan         Rollman
Cody         Rolon
Peter        Roma
Erika        Roman
Ernesto      Roman
Hairold      Roman
Raymond      Roman
Yesenia      Roman
Daisy        Roman
Duran        Roman
Daniel       Roman Jr.
David        Roman Jr.
Charles      Romberger
Helman       Romero
Herberto     Romero
Johanna      Romero‐Correa
Mark         Romich
Charles      Romig
Adam         Rompilla Jr.
Gilberto     Rondon
Linda        Ronemus
Jorge        Roque‐Rivera


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                                SCHEDULE A

First Name   Last Name
Maria        Rosa
Nichole M    Rosa
Ricardo      Rosa
Thalia       Rosa
Josue        Rosa
Osvaldo      Rosabal
Alicia       Rosado
Freddy       Rosado
Irania       Rosado
Julio        Rosado
Ruben        Rosado
Ana          Rosado
Israel       Rosado
Wendy        Rosado
Eric         Rosado‐Gonzalez
Ezequeil     Rosaio
Jose         Rosaio
Roger        Rosancrans
Andy         Rosario
Candida      Rosario
Danny        Rosario
Emily        Rosario
Enrique      Rosario
Ezequeil     Rosario
Jeremiah     Rosario
Jessenia     Rosario
Jordan       Rosario
Julio        Rosario
Louis        Rosario
Natalie      Rosario
Rebecca      Rosario
Vicente      Rosario
Wilfred      Rosario
Francisco    Rosario
Jessenia     Rosario
Jose         Rosario
Steven       Rosario
Andres       Rosario De Los
Luis         Rosario‐Alvarado
Carmen       Rosario‐Melend
Ricardo      Rosario‐Ortega
Jesus        Rosario‐Rosario
Andres       Rosario‐Santan


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                              SCHEDULE A

First Name   Last Name
Yoarinson    Rosario‐Santan
Angel G      Rosa‐Veloz
Jeremy       Rose
Barbara      Rosenthal
Kenneth H    Rosenthal Jr
Jonathan     Ross
Kyniece      Ross
Ronald       Ross Jr.
Brett        Rossanese
Kyle         Rossi
Michael D    Rossi
Nicholas     Rossignoli
Monalisa     Rostick
Eric R       Rostick Jr
Alfred       Roth
Evan         Roth
Randy        Roth
Richard      Roth
Robert       Roth
Sally D      Roth
Jacob        Rothenberger
Seth         Rothenberger
Justin       Rothenberger
Timothy      Rothenberger
Austin       Rothermel
Jeffrey      Rothermel
Mark         Rothermel
Martin       Rothermel
Richard      Rothermel
Robbie K     Rothermel
Alex         Roudybush
Justin       Roudybush
Alex         Roudybush
Sherry       Row
Janet        Rowe
Michael      Rowland
Jason        Royer
Dan          Rubright
Diana        Rubright
Ronny        Ruck
Mitchell R   Rudolph
Cody         Ruffner
Mark         Ruffner


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                              SCHEDULE A

First Name   Last Name
Charles      Ruhf
Eric         Ruiz
Iesha        Ruiz
Josue        Ruiz
Mayra        Ruiz
Norberto     Ruiz
Omar         Ruiz
Johana       Ruiz
Carmelo      Ruiz III
Miguel       Ruiz Jr
Jaime        Ruiz Jr.
Norberto     Ruiz Jr.
Ricardo      Ruiz‐Alvarado
Sindy        Ruiz‐Espinoza
Alejandro    Ruiz‐Gomez
Julia        Rump
William D    Rump
Daniel       Rundle
Brian        Runge
Elmer        Ruoss
Elmer V      Ruoss
Stephen      Ruoss
Courtney     Rupp
James M      Ruppert
Lori         Ruppert
Paul         Ruppert
Michael      Rusk
Matthew      Rusk
Jason        Ruth
William      Ruth III
Brent        Rutherford
Richard      Rymshaw III
Jeff         Saadi
Cody T       Sabaski
Saige        Sabatine‐Costa
Jesus        Sabino‐Minaya
Robert S     Sabold
MD Abu       Sadeque
Annette      Saeger
Lonnie       Saeger
Michael      Salak
Zofia        Salak
Louis        Salaman


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                                SCHEDULE A

First Name    Last Name
Shardae       Salame
Hector        Salamo‐Luciano
Jesus         Salamo‐Luciano
Augusto       Salas
Orlando       Salas‐Lopez
Mark          Salas‐Lopez
Paul          Salazar
Vanessa       Salazar
Jennifer      Salcido
Jeanette      Saldana‐Ser
Edwin         Salgado Sr.
Samih         Salibi
Nicholas      Salkowski
Bradley       Sallada
Gayle F       Sallada
Bryan         Salsano
Oliver        Salvador‐Abreu
Geovanny      Salvador‐Santos
Yobel         Salvador‐Santos
Halee         Salvati
Scott         Salyards
Juan          Samboy‐Rubiera
Baruku        Samwel
Edward        Sanabria Jr
Adam          Sanchez
Arturo        Sanchez
Christopher   Sanchez
Elsa          Sanchez
Henry         Sanchez
Izac A        Sanchez
Jairo         Sanchez
Jarlin        Sanchez
Jeraldine     Sanchez
Jonathon      Sanchez
Jose          Sanchez
Joshua        Sanchez
Manuel        Sanchez
Maribel       Sanchez
Rafael        Sanchez
Roswil        Sanchez
Samuel        Sanchez
Elsa          Sanchez
Jason         Sanchez


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                                 SCHEDULE A

First Name   Last Name
Marilyn      Sanchez
Rafael       Sanchez Ysique
Rolando      Sanchez‐Corona
Angel        Sanchez‐Cruz
Keyla        Sanchez‐Cruz
Ruben        Sanchez‐Dejesus
Juan         Sanchez‐Espinalti
Jennifer K   Sanchez‐Garcia
Joel         Sanchez‐Nunez
Paulina      Sanchez‐Ochoa
Francisco    Sanchez‐Ochoa
Joan         Sanders
Mark         Sanders
Matthew      Sanders
Robert H     Sanders
Eric         Sanders
Ravinder     Sandhu
Celina       Sandoval
Erica        Sandoval
Fernando     Sandoval
Jose         Sandoval
Roberto      Sandoval
Rolando      Sandoval
Sulema Y     Sandoval
Brian        Sandridge
Francis      Sangrey
Hassan A     Sankoh
Gilbert      Santa
Ameris       Santana
Edward       Santana
Elvin        Santana
Felix        Santana
Jashue       Santana
Johanny      Santana
Johnathan    Santana
Juan         Santana
Kiommy       Santana
Odaliz       Santana
Rafael       Santana
Rinsi        Santana
Ruben        Santana
Saraid       Santana
Bolivar      Santana


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                                  SCHEDULE A

First Name   Last Name
Jonathan     Santana
Kiommy       Santana
Marilyn      Santana
Renaldo      Santana Jr.
Rafael       Santana Jr.
Rafael       Santana‐Cruz
Victor       Santana‐Penalo
Ronny        Santana‐Pichard
Jeffrey      Santarelli
Karen        Santee
Anibal       Santiago
Elizabeth    Santiago
Evelyn       Santiago
Felix        Santiago
Hector       Santiago
Jackeline    Santiago
Joshua       Santiago
Klarilis     Santiago
Luis         Santiago
Madeline     Santiago
Mariselly    Santiago
Michael      Santiago
Onel         Santiago
Victor       Santiago
Basilio      Santiago
Chase        Santiago
Jose         Santiago
Milagros     Santiago
Robinson     Santiago
Wilfredo     Santiago
Salvador     Santiago III
Daniel       Santiago Jr.
Maritza      Santiago‐Garcia
Ramon        Santiago‐Guzman
Kimberly     Santiago‐Medina
Neftali      Santiago‐Munoz
Victor       Santiago‐Rivera
Mirelys      Santiago‐Solero
Luis         Santiago‐Velazquez
Jasmine      Santiago‐Wilson
Damien       Santos
Juan C       Santos
Stacy        Santos


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                               SCHEDULE A

First Name    Last Name
Daniel        Santos
Randi         Santos
Daniel        Santos Jr.
Valerie       Santos‐Garcia
Ismael        Santos‐Matias
Yuleisy       Santos‐Rivas
Magedlyn      Santos‐Urena
Cesar         Santoyo
Jose          Santoyo
Nicholas      Sapienza
William       Saravia
Guillermo     Sarita‐Vasquez
Jahid         Sarwar
Joshua        Sattazhan
Estella       Satter
Melanie       Sauder
Lindsey M     Sauer
Steve         Saunders
Ramon         Saunders‐Lopez
Brandon C     Savacool
Joana         Savala
Jonathan      Sawyer
Patricia      Sawyer
Andrew        Sawyer
Kylee         Sayer
Michael       Sayer
Charles J     Sayer Jr
Kamal         Sayers
Randall       Saylor
Leroy S       Saylor Jr
Robert        Scales Jr.
Robert        Scales Sr.
Thomas        Scartoli
Barry         Schadler
Linda         Schadler
Leah          Schadler
Justin D      Schaedler
Megan         Schaedler
Christopher   Schaefer
Alexander     Schaeffer
Daniel        Schaeffer
Donald        Schaeffer
Douglas J     Schaeffer


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                              SCHEDULE A

First Name    Last Name
Earl          Schaeffer
Lori          Schaeffer
Michael       Schaeffer
Owen          Schaeffer
Robert        Schaeffer
Seth          Schaeffer
Sherri        Schaeffer
Timothy       Schaeffer
William       Schaeffer Jr.
William       Schaeffer Sr.
Anna          Schafer
Aaron M       Schaffer
Richard       Schaffer III
Richard       Schaner
Russell       Schaner Jr.
Aaron M       Schappell
Scott R       Schappell
Mike          Schauer
Kelly A       Scheetz
Cody          Scheidt
Dwayne        Scheidt
Jeffrey       Schell
Beverly       Schell
Bryce         Schell
Dennis        Schell
Charles       Schell Jr.
Jason         Schermerhorn
Kenneth H     Schettler
Thomas        Schiebel
Jesse         Schiepan
Tara          Schiffert
Michael       Schilling
Michael       Schittler
Troy          Schittler
Kari          Schlaner
Christopher   Schlegel
Kayla         Schlegel
Keith         Schlegel
Kyle          Schlegel
Shaun         Schlegel
Adam          Schlegel
Ian           Schleicher
Chad          Schlenker


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                              SCHEDULE A

First Name    Last Name
Austin        Schlenker
Dawn          Schlenker
Scott C       Schlosser
Blain         Schmeck
Richard       Schmeer
Ryan          Schmeer
Ryan          Schmeer
Ian M         Schmidt
Christian     Schminkey
Matthew       Schmotzer Jr.
Thomas        Schmoyer
Gary          Schnee
Wayne         Schnorrbusch
Christopher   Schoch
Daryl         Schoedler
Toby          Schoedler
Keenan        Schoenberger
Lewis         Schoffstall
Chad          Scholl
Matthew A     Schomotzer Jr
Justin        Schoning
David         Schonour
Debra         Schrader
Lorraine M    Schrader
Elwood        Schrader Jr
Philip        Schramko
Brian         Schrier
Jeffrey       Schroeder
Russell       Schroeder
Scott         Schroeder
Craig         Schroeder
Gregory       Schrump
Joshua        Schuler
Nicholas      Schuler
Ross          Schuler
Donna         Schumaker
Patricia      Schuster
Andrew        Schwartz
Christopher   Schweitzer
Megan         Schweitzer
Robert        Schweitzer
Russell       Schweitzer
Devin         Schweitzer


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                              SCHEDULE A

First Name   Last Name
Craig        Schwoyer
Ronald       Schwoyer
Stephanie    Schwoyer
Matthew      Sciamanna
Clinton      Scott
Derrick      Scott
Noah T       Scott
Richard      Scott
William Z    Scott
Gennaro      Scotto‐Diluzio
Mark         Seaman
Steven       Seaman
Ronald       Searle Jr
Amanda       Seasholtz
Robert G     Seasholtz
Drew         Sebio
Zachary      Sebock
Colin        Sechler
Raymond      Sediva
Michelle E   Seel
Herbert      Segarra
Jose         Segura
Barry        Seidel
Beverly      Seidel
Brandon      Seidel
Mark         Seidel
Michael      Seidel
Trevor       Seidel
Edward       Seidel
Troy         Seidel
Thomas       Seiders
Mark G       Seidt
Jack         Seidwitz
Hilda        Seifert
Davina       Seifrit
Matthew      Seifrit
Michael      Seifrit
Jay          Seigfried II
Steven       Seip
Amdanda M    Seiple
Kyle         Seisler
Adam         Seiverling
Derrick      Sekulski


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                               SCHEDULE A

First Name   Last Name
Gary         Selecky
Tatiana      Selepcheny
Cameron S    Sell
Gregory      Sell
Jack         Sell
Keith A      Sell
Wayne        Sell
Timothy      Semler
Robert       Senay
Andrew       Seneca
Priscilla    Sepulveda‐Corre
Robert       Serban
Arkini       Sergeant
Stephen H    Sergeant
Michael      Serina
Eric         Serran
Denise       Serrano
Juan         Serrano III
Juan         Serrano Jr
Mark         Settle Jr
Jaime        Severino
Terry        Seyfert
Devon        Seyfert
Maria        Seyfried
Richard      Seyfried
Ryan         Seyfried
Richard      Seyfried Jr.
Brandyn      Seyler
Brian        Seyler
Jacob        Seyler
Justin       Seyler
Robert       Seyler
Dennis       Seyler Jr.
Richard      Sfingas
Valerie A    Sgaramella
James        Shabrach Jr
David        Shade
Shelly       Shade
Vicki L      Shade
Dennis       Shade
Alvin        Shade Jr.
Alan         Shafer
Heather      Shafer


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                               SCHEDULE A

First Name    Last Name
Mark          Shafer
Randy A       Shafer
Andrew        Shaffer
Christopher   Shaffer
Crystal       Shaffer
Dylon         Shaffer
Joan L        Shaffer
Michael T     Shaffer
Shawn         Shaffer
Troy          Shaffer
Amy           Shaffer
Cody          Shaffer
Jared         Shaffer
Brick         Shakespeare
Larry         Shalters III
Trent         Shane
Derek         Shaner
Robert        Shaulis Jr.
Bernard       Shaw
Tyler         Shaw
Jeffrey       Sheeler
Roy           Sheeler
Jessica       Sheetz
Carl          Sheetz Jr.
Jeremy        Shepard
Marcus        Shepard Sr.
Tyler         Sheperak
Shawn         Shepler
Ronald        Sherker
David         Sherman
Anthony       Shetrompf
Brittany      Shick
Robert        Shick Jr
Fritzrone     Shields
William       Shiffert
April         Shiller‐Riegel
Scott         Shindel
Travis        Shingle
Nicholas      Shingle
Zachary       Shirey
Dennise R     Shoemaker
Timothy       Shoemaker
Yvonne        Shoemaker


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                               SCHEDULE A

First Name   Last Name
Kevin        Shoemaker
Brian E      Sholl
Daniel       Shollenberger
Glenn        Shollenberger
John D       Shollenberger
R. Gary      Shollenberger
Gunnar       Shomgard
Lori         Shomper
David        Short
Lisa         Showalter
Roy          Showalter
Benjamin     Shreve
George       Shrum
Joseph       Shuck
Zachary      Shuey
Ryan         Shuman
John         Shunk
Robert       Shupp
Joseph       Siddons
Dale         Siegfried
Samuel       Sierra
Steven       Sierra
Steven       Sierra
William      Sierra‐Casiano
Xavier A     Sierra‐Felibert
Becky        Sievert
Mark         Sievert
Patrick      Sikorski
Tatiana      Silaghi
Brandon R    Sillhart
Craig        Siluk
Alexis       Silva
Julio        Silvestre
Erick        Silvios
Logan        Silvius
Song H       Sim
Buford       Simmons
Kelvin       Simo
Angeli       Simon
David        Simons
Tyler        Simons
Kenneth      Simpkins
Jon          Simpson


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                              SCHEDULE A

First Name    Last Name
Nychelle      Simpson
Derrick       Sims
Khalil        Sims
Steven        Sims
Donald        Singer
Baljit        Singh
Tibor         Sipos
Robert        Sites
Joel          Siutto
Christian     Sixtos‐Flores
Peter         Skias
Michael       Skias
Daniel        Skinner
Earle         Skinner
Michael       Skinner
Tyler         Skinner
Brian         Skinner
John E        Skinner IV
Shane         Skipper
John          Skripko
Gloria        Skwait
Kamika        Skyers
Thomas J      Slattery
Steven G      Slegel
Aaron         Slemmer
Matthew       Sleva
Derek         Slichter
John          Slonaker III
Timothy       Slough
Donovan       Smalling
William       Smathers
Bethany       Smith
Brandon       Smith
Chad          Smith
Christopher   Smith
Chynthia J    Smith
Cody          Smith
Dale          Smith
Deborah A     Smith
Derek         Smith
Diane         Smith
Dylan         Smith
Jason         Smith


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                         SCHEDULE A

First Name   Last Name
Joseph       Smith
Kenneth      Smith
Kevin A      Smith
Kevin M.     Smith
Kyle         Smith
Linnea       Smith
Malcolm      Smith
Marina       Smith
Mark         Smith
Melissa      Smith
Michael      Smith
Rachel A     Smith
Rasheena     Smith
Rebecca M    Smith
Richard      Smith
Rick         Smith
Ridge        Smith
Ryan         Smith
Shannon      Smith
Sherry       Smith
Stephen C    Smith
Theodore T   Smith
Timothy      Smith
Tyesha       Smith
Wessell      Smith
Betty        Smith
Daryl        Smith
Derek        Smith
Elaine       Smith
Jason        Smith
Joel         Smith
Matthew      Smith
Melissa      Smith
William      Smith II
Arthur       Smith III
David        Smith Jr
Melvyn       Smith Jr
Robert       Smith Jr.
Travena      Snead
Georgette    Sneddon
Jeannine M   Snodgrass
Barry        Snyder
Breanna      Snyder


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                               SCHEDULE A

First Name   Last Name
Brian        Snyder
Gene         Snyder
Hillary      Snyder
Jacob        Snyder
Jeffrey      Snyder
Kenneth      Snyder
Luke         Snyder
Mark         Snyder
Matthew      Snyder
Melanie      Snyder
Merlin I     Snyder
Michael      Snyder
Rhonda       Snyder
Scott        Snyder
Stephen      Snyder
Susan A      Snyder
Timothy      Snyder
Aeryn        Snyder
Jeff         Snyder
Joseph       Snyder
Morgan       Snyder
Jose         Solano‐Orellana
Josue        Solano‐Perez
Amarilis     Soler
Andrew       Soler
Jonathan     Soler
Mohamed      Soliman‐Hussein
David        Solis‐Ortiz
David        Solliday
David        Solomon
Keri         Solt
Lee D        Solt
Robert J     Solt
Thomas       Solt
Alyssa       Solt
Robert       Solt
Megan        Soltes
Randall L    Somerville
Jaclyn       Sonon
Steven       Sopho
William      Sorg
David        Soriano
Michael      Sorrentino


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                               SCHEDULE A

First Name   Last Name
Crystian     Sosa
Matthew J    Sostak
Alex         Soto
Alexis       Soto
Iran         Soto
Nathaniel    Soto
Rosa M       Soto
Carlos       Soto
Jeffrey      Soto
Jose         Soto
Samuel       Soto
Rafael       Soto Jr
Joselito     Soto‐Alvarez
Keila        Soto‐Arroyo
Ozni         Soto‐Arroyo
Maribel      Soto‐Carrasquil
Joseph       Souders
Patrick      Sovie Jr
Anthony      Sowa
Steven       Sowders
Frank        Sowers
Dennis L     Spaar
Daniel S     Spack
Chadwick     Spaid
Thomas D     Sparks
Janice       Sparr
Derek        Spatz
Gary         Spatz
Valerie      Spatz
Charles      Spears
Raymond      Speck
Jonathon     Speece
James        Speece
Dennis       Speece Jr.
Thomas       Speicher
William D    Spence
Nathaniel    Spencer
Jarad        Spiers
Bradley      Spies
Kenneth      Spitler
Kathleen     Spiva
Sebron       Spivey III
Justin       Spohn


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                               SCHEDULE A

First Name    Last Name
Justin M      Spohn
Garren        Spohn
Jeffrey       Sponsler
Amanda        Sprecher
Joseph        Spross II
Katrina       Stacey
Ryan          Stack‐Smith
Brody         Stahl
William       Stalnecker
Tina          Stambaugh
Steven        Stamm
Andrew M      Stamy
Robert        Stanish
Cody          Stanish‐Miller
Andrew        Stanislaw
Jennifer      Stankiewicz
Joshua        Stanley
Nilsa         Starzmann
Rickie        Stauffer
Brian         Steely
Zachary       Stefanow
Barry         Steffy
Donna         Steffy
Logan         Steffy
Brian         Steigerwalt
Leon          Steigerwalt
Carter        Stein
Frederick R   Stein Jr
Geoffrey R    Steinmetz
Lester        Steinmetz Jr.
Sage          Steinmuller
Andrew        Stephen
John          Stephens
Charles B     Stern
Damon         Stern
Larry         Stern
Todd          Stern
Cassie        Sterner
Nicholas      Sterner
Terry         Sterner
Thomas        Sterner
Joshua        Stetler
James         Stettler


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                              SCHEDULE A

First Name    Last Name
Tighe B       Stetzler
Aliene M      Stevens
Thomas S      Stevens
Gary          Stevens
Michael       Stevens
Zachary       Steward
Christopher   Stewart
Jason         Stewart
John          Stewart
Marlene       Stewart
Timothy       Stewart
Courtney      Stewart
Jason         Stewart
Andrew        Stief
Steve         Stine
Timothy W     Stine
Jonathan      Stine
Quindon       Stinson
Tanya         Stinson
Randy         Stitzel
Thomas        Stitzel
Gina          Stitzer
Erik          Stocker
Stephen       Stockmal
Daniel H      Stoeber
Jonathan      Stoeber
Andrew        Stoever
Christopher   Stolfi
Haley         Stoltz
Robert        Stoltzfus Jr.
Trevor M      Stoneman
Nicholas R    Stopera
Jeremie       Stoss
Bradley       Stoudt
Bryan         Stoudt
Chad          Stoudt
Christopher   Stoudt
David         Stoudt
Drew          Stoudt
Jason         Stoudt
Leroy         Stoudt
Marc          Stoudt
Nancy         Stoudt


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                            SCHEDULE A

First Name   Last Name
Ronald       Stoudt
Sheena       Stoudt
Timothy      Stoudt
Trevis       Stoudt
William      Stoudt
David        Stoudt
Kenneth      Stoudt Jr.
David        Stouffer
Charles A    Stout
Jason        Stout
Daniel       Stoyko
Richard      Straughn Jr
David        Strause
Rebecca      Strause
Tyler R      Strause
Barry        Strauss
Michael      Strauss
Sabrina      Strausser
Troy         Strausser
Jarrod       Stringham
Nicholas D   Stripe
Jason        Stroebele
Tyler        Strohl
 Donna       Strohm
Drew         Strohm
Jason        Strouse
Amy A        Strunk
Cristina     Strunk
Dakota       Strunk
Dayna        Strunk
Delores J    Strunk
Janice L     Strunk
Kyle         Strunk
Patti J      Strunk
James        Struntz Jr.
Keith        Stubblebine
Christian    Stubenrauch
Eric         Stuber
Paul         Stuckley Jr.
Eron         Stufflet
Colleen F    Stump
David        Stump
Dean A       Stump


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                                SCHEDULE A

First Name     Last Name
Ernest         Stump
Timothy        Stump
Willis         Stump Jr.
Brian          Stump Jr.
Elizabeth J    Stutzman
Craig          Styer
Gustavo A      Suarez
Jeffrey        Suarez
Luisa          Suarez
Anthony        Suarez
Jose           Suarez‐Dejesus
Pedro          Suarez‐Rosado
Franklin       Suero‐Acevedo
David          Sullivan
Emerson        Sullivan
Gregory        Sullivan
Robert         Sullivan
Terrence       Sullivan
Stephen        Summers
Jeffrey        Sundstrom jr
Donald         Sutherland
Kyle           Sutherly
Ronald         Sutherly
Joseph         Sutton
Ariana         Suyon
Lizbet         Suyon
Karl           Svendsen
Natalee M      Svenson
Frank          Svetecz IV
Steven         Swank
Justin         Swavely
Christine      Swavely
Michael        Sweeney
Nathaniel      Sweeney
Abby           Sweigart
Derek D        Sweigart
KC Elizabeth   Sweigert
Scott          Sweigert
Chris H        Sweimler
Christine E    Sweitzer
Donna          Sweitzer
Jason          Sweitzer
Michael        Sweitzer


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                              SCHEDULE A

First Name    Last Name
Richard       Sweitzer
Craig         Sweitzer Jr
Gwen          Switzer
Paul J        Swolensky
Ethan         Swoyer
Shane         Swoyer
Evan          Sychterz
Bryan         Sylvester
Robert        Symons
Ellen P       Szafranski
Emmett        Szafranski
Emmett        Szafranski Jr
Cody          Szerencsits
Jeffrey       Szerencsits
Wayne         Szerencsits
Scott         Szilli
Jason         Szilli
Michael       Sztuba
Ricky         Tabarez
Alec          Taddei
Francis       Taddei Jr
Andrew        Taddeo
Anthony       Talarico
Cartier       Talford
Ethan         Talotta
Perliuyi      Tapia
Mona          Tarik
Lance         Tarnoski
Ezequiel      Tavarez
Jeffrey       Tavarez
Nalini        Tavarez
Sergio        Tavarez
Wilson        Tavarez
Jose          Tavarez
Bianca        Tavarez‐Pena
Ignacio       Tavera‐Perez
Austin        Taylor
Kathelynn M   Taylor
Paul S        Taylor
Harry         Tees
Steven        Teeter
Carlos        Teissonniere
Ivan          Tejada


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                               SCHEDULE A

First Name    Last Name
Yaniel        Tejada
Carlos        Tejada‐Abreu
Pedro E       Tejada‐Garcia
Maria         Tejeda
Israel        Tellado‐Cortes
Scott G       Teller
Joshua        Templin
Kenneth       Templin
Michael       Tennant
Alonzor       Tenorio
David         Tenorio
Maria         Tenorio
Joel          Tepes
Juan          Teran‐Lopez
Alexander     Terplan
Wendy         Terrero
Selamawit     Tesfaye
Victoria      Teter
Jordan        Thenga
John          Theodore
Joel          Thom
David         Thomas
Donald J      Thomas
Donte         Thomas
Eric          Thomas
Jack          Thomas
James         Thomas
Jared         Thomas
Jeremy        Thomas
Zachary       Thomas
Justin        Thomas
Wayne         Thomas
Brian L       Thomason
Brian         Thomason
Christopher   Thompson
Eric          Thompson
Gary S        Thompson
Leann S       Thompson
Reuben        Thornton
David         Thorpe
Stephan       Thorpe
Donald        Thren
Gabriel       Tineo


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                                SCHEDULE A

First Name   Last Name
Alex         Tinoco‐Espinoza
Emanuel      Tirado
Esteban      Tirado
Gede         Tirtayasa
James T      Tisdale
Joseph       Tite Jr.
Fedora       Tiudic
Austin       Tobias
Daryl        Tobias
Kyle         Tobin
Jackson      Todd
William      Tokarchek Jr
Cynthia      Tolland
Cristian     Tolosa‐Rodriguez
Nicholas     Tomko
Brandon      Tomlinson
William      Tomlinson
Timothy      Tona
Elvinnce     Tony
Jorge        Toribio Agramont
Domingo      Toribio‐Rojas
Abigail      Torres
Alicia       Torres
Ana          Torres
Azelyn       Torres
Brian        Torres
Daniel       Torres
Delila       Torres
Elvia        Torres
Evelyn       Torres
Felicia      Torres
Francis      Torres
Francisco    Torres
Gerardo      Torres
Jiovanny     Torres
Jose         Torres
Joshua       Torres
Juan         Torres
Lucas        Torres
Marcus       Torres
Maria        Torres
Michael      Torres
Oscar        Torres


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                                 SCHEDULE A

First Name    Last Name
Pascual       Torres
Raymond       Torres
Xavier        Torres
Yoriel        Torres
Alec          Torres
Josue         Torres
Luis          Torres
Lucas         Torres Jr
Jose          Torres Jr.
Jose          Torres Rodriguez
Jailene       Torres‐Alvarado
Francisco     Torres‐Cabral
Juan          Torres‐Cabral
Luis          Torres‐Castillo
Bryan         Torres‐Gonzalez
Nelson        Torres‐Gonzalez
Carmen        Torres‐Natal
Jonathan      Torres‐Nazario
Alexander     Torres‐Nunez
Johnny        Torres‐Ortiz
Jonathan      Torres‐Pacheco
Miriannelli   Torres‐Reyes
Angel         Torres‐Saenz
Kiriakos      Torunidis
Eric          Tosado
Fritz         Toussaint
Felicia       Towles
Norma         Towles
Erick         Townes
Jared         Townsend
Brandy        Trabosh
Brian         Tracey
Margaret S    Tracey
Thomas        Tracey
Zachary       Tracey
Den           Tran
Tara          Tran
Joshua        Traub
Kenneth       Travaglini
Tammy         Trayer
Stanton       Traylor III
Connor        Treffinger
Anthony       Trevino


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                             SCHEDULE A

First Name    Last Name
Terry         Trievel
Quan          Trinh
Goran         Trivic
Rafael        Troche III
Brian         Trombly
Chris         Troutman
Michael       Troxel
Sandra        Troxel
Jason         Trumbauer
Ryan          Trumbauer
Donald        Trumbore
Catherine K   Trump
Huong         Truong
Shelly        Trupp
Scott         Trzesniowski
Felix         Tuapoli
Steven        Tumolo
John          Tumolo III
Steve R       Tumolo Jr
Mark          Turkali II
Hyon          Turman
Glenn         Turner
Randay        Turner
Christopher   Turner
Joseph        Turner‐Jones
Keyona        Turner‐Stern
Adam          Tyrrell
Ryan          Tyrrell
Michael       Tyrrell
Jeffrey       Uberti
Emannuel      Ulloa
Darlene       Ullola
Cory          Ulrich
Kelsey        Ulrich
Kerry         Ulrich
Matthew       Ulrich
Michael       Ulrich
Denise S      Ulrich Jr
Donald        Underkofler
Thomasina     Underwood
Daniel R      Unger
Heather       Unger
Michael       Unger


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                                 SCHEDULE A

First Name    Last Name
Ronald        Unger
Eric          Unruh
Deborah       Updegrove
Oscar         Urbina
Enrique       Urbina‐Hernandez
Andy          Urena
Bryan         Urena
Emmanuel      Urena
Jose          Urena
Darlene       Uriarte
Frank         Uriarte
Rosa E        Uribe
Nelson        Uribe
Juan          Urieta
Alejandro     Urrutia‐Ruiz
Jose          Urrutia‐Ruiz
Ernesto       Urrutia‐Ruiz
Christopher   Utt
Brendan       Vail
Jorge         Valderrama
Jorge         Valderrama II
Amaury        Valdez
Bill          Valdez
Carlos        Valdez
Yiliana       Valdez
Alondra       Valdez‐Alfallo
Mary          Valdez‐Alfallo
Luz           Valencia
Daniel        Valente
Blake         Valentin
Jesus         Valentin
Vilma         Valentin
Xiomara E     Valentin
Jose          Valerio Jr.
Emilio        Valle
Jensen        Valle‐Cintron
Zauri         Valle‐Leyro
Philip        Van Schaick
Noah          Van Valkenburg
Cecil L       Vand Beverhoudt
Melissa M     Vandegriff
Brad          Vanderbeck
Braulia       Vanderhorst


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                                     SCHEDULE A

First Name    Last Name
Ybelka        Vanderhorst
Geronimo      Vanderhorst‐Baez
Pedro         Vanderhorst‐San
Francis       Vanderpool
Brett         Vanderslice
Tea Z         Vang
Robert        Vangoethem
John T        Varady
Astrid        Vargas
David         Vargas
Elizabeth     Vargas
Erika         Vargas
Jose          Vargas
Keynaris      Vargas
Maximo        Vargas
Christopher   Vargas
David         Vargas
Jazmine       Vargas
Joseph        Vargas
Juan          Vargas
Keynaris      Vargas
Marcus        Vargas
Luis          Vargas‐Guzman
Steve         Vargas‐Paez
Jan           Vargas‐Ponce
Oswald        Vargas‐Roldan
Nicholas      Varish
Ailynn        Vasquez
Angela        Vasquez
Jean Carlos   Vasquez
Luis          Vasquez
Maribel       Vasquez
Salvador      Vasquez
Martin        Vasquez
Anadina       Vasquez
Luz           Vasquez De Rive
Daniel        Vasquez jr
Jose          Vasquez Jr.
William       Vasquez Jr.
Luz           Vasquez Santos de Ri
Edwin         Vasquez‐Baez
Katia         Vazquez
Kayla         Vazquez


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                                SCHEDULE A

First Name   Last Name
Abdiela      Vega
Angel        Vega
Joseph       Vega
Joshua       Vega
Linda        Vega
Shawn        Vega
Stephanie    Vega
Wanda        Vega
Vicente      Vega
Miguel       Vega III
Eva          Vega‐Ponce
Cesar        Vega‐Reyes
Victor       Velasco
Diana C      Velasquez
Carlos       Velazquez
Katherine    Velazquez
Lucero       Velazquez
Victor       Velazquez
David        Velazquez
Robert       Velazquez
Raymond      Velazquez Jr
Yesica       Velazquez‐coron
Steven       Velazquez‐Cruz
Damaris      Velazquez‐Leb
Bryan        Velazquez‐Lopez
Celines      Velazquez‐Lopez
Oscar        Velazquez‐Varga
Victor       Velez
Pedro        Velez III
Efrain       Velez Jr
Dafnice      Velez‐Martinez
Brent        Venning
Bierca       Ventura‐Perez
Mayrobys     Ventura‐Perez
Jennifer     Veppert
Edwin        Veras
Adderly      Veras‐Pyero
Thomas       Verholy Jr.
Lorean       Vicente‐Guerre
Delvi        Victoria‐Acevedo
Oscar        Vila
Vanessa      Vila
Omar         Villalba‐Ramire


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                                 SCHEDULE A

First Name   Last Name
Charlie      Villalona
Nicole       Villanueva
Paul         Villanueva
Jeffrey      Villanueva
Richard      Villanueva‐Toro
Ruth         Villar
Jaime        Villard
Marcelino    Villasenor
Exsain       Villasenor‐Espino
Colvis       Villavicencio
Rafaela      Villega‐Medina
Anthony      Visalli
Tomas A      Vizcaino
Barbara S    Vogel
Bruce        Vogel
Jonathon     Voll
Joshua       Von Haack
Henry        Vonfriesen
Kyle J       Voytko
Nguyen       Vu
Kong         Vue
Caleb        Wade
Cindy        Wade
Jonathan     Wade
Patrick      Wade
Meriah       Wadelington
Craig        Wagner
Gary         Wagner
Jacqueline   Wagner
John         Wagner
Joshua       Wagner
Kyle         Wagner
Michael      Wagner
William      Wagner
Brian        Wagner
David        Wagner
Jordan       Wagner
Russel       Wagner Jr.
Brandon      Wahl
Jason        Wahl
Kim          Walb
Dennis       Walbert
Donna        Walbert


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                           SCHEDULE A

First Name    Last Name
Jeffrey       Walk
Scott         Walker
Sergio        Walker
William       Walker
Jason         Walker
Lisa          Walker
James         Wall Jr
Andrew        Wallace
Barbara       Wallace
Joshua        Wallander
Mark          Wallander
Brian         Wallander
Matthew       Walsh
Ryan          Walsh
Stephen       Walter
Andrew S      Walter Sr
Gregory       Walters
Jeevon        Walters
Curtis        Walton
Kyle          Walton
Michael       Walton
Patrick       Walton
Darquin       Walton
George        Wampler
Ernest        Wampole
Maranda       Wampole
Stanley       Wanamaker
Heather       Wanner
Alexander J   Ward
Darrell       Ward
Laurie        Ward
William       Ward II
Gregory       Warg
Dana N        Warmkessel
Jack          Warmkessel
Ashley        Warner
Helene        Warner
Patrick       Warner
Robert        Warner
Shane         Warner
Tony          Warner
Paul          Warnken Jr
Jeffrey       Wartluft


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                             SCHEDULE A

First Name    Last Name
David         Wartzenluft
Abe           Washak
Christopher   Washington
Lovinson      Washington
Matthew       Wasilko
George        Wassner
Donald        Wasson
Nathaniel     Waters III
Natasha M     Watson
Justine       Watt
Kenneth       Watts
Brett         Wawrzyniak
Brandon       Weaver
David         Weaver
Ian           Weaver
Ketih B       Weaver
Lewis         Weaver
Michael D     Weaver
Janet         Weaver
Lynn          Weaver Jr.
Justin        Webber
Michael       Webber
Andrew        Weber
Jason         Weber
Kyle          Weber
Shane         Weber
Steven        Weeks
Richard       Weeks Jr
Anthony       Wehr
Joseph C      Wehr
Robin         Wehr
Emory         Wehr Jr.
Brendon       Weida
Barry         Weidenhammer
Karen E       Weidenhammer
Kathleen      Weidenhammer
Matthew       Weidenhammer
Scott         Weidenhammer
Morris        Weidenheimer
Jeffrey       Weidman
Patrick P     Weidman
Randy         Weidman
Allen         Weidner


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                          SCHEDULE A

First Name   Last Name
Jarrett      Weidner
Jeremy       Weidner
Leif A       Weidner
Leroy        Weidner
Jacob        Weikel
Theresa      Weil
Wayne        Weil
David        Weil III
Wayne        Weil Jr
Brian        Weischedel
Christine    Weiser
Ronald       Weiser
Andrew       Weisner
Austin       Weiss
Jordan       Weiss
Stephen      Weiss
Sheila       Weister
Chad         Weitzel
Jeffrey      Weitzel
Perry        Welder
Nathan       Welker
Craig        Weller
David        Weller
Douglas      Weller
Keegan       Weller
George       Weller
Brandon      Wells
Steven       Welty
Richard      Wengert
Jay          Wenner
Kevin        Wenrich
Aareal       Wentzel
Brett        Wentzel
Charisma     Wentzel
Charles L    Wentzel
Michael      Wentzel
Mike         Wentzel
Robert       Wentzel
Todd         Wentzel
Barry        Wentzel
Logan        Wentzel
Robin        Wentzel
Richard      Wentzel Sr


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                            SCHEDULE A

First Name   Last Name
Ronald       Wenz
Michael      Werle
Jason        Werley
Loreen       Werley
Ryan S       Werley
Glen         Werley
Keith        Werley
Shane        Werley
Larry        Werner
Scott        Werner
Susan        Werner
Andrea       Wert
Cindy A      Wert
Keith        Wert
Beth Ann     Wertman
Mickey       Wertman
Michael      Wertz
Amanda       Wertz
Thomas       Wertz
Drew         Wessner
Jeffrey      Wessner
Naunee       Wessner
Rose M       Wessner
Troy         Wessner
Carl         West
Kenneth      West Jr.
Alexander    Westcott
Anthony      Wetzel
Charles      Wetzel
Floyd        Wetzel
Jamie        Wetzel
Jeffrey      Wetzel
Lori         Wetzel
Charles      Wetzel Jr
Ariana M     Weyandt
Kyle         Wheaton
John M       Whisler
Peter        Whisler
Charles      Whistler III
Benjamin     White
Devin        White
Jedediah     White
Phillip      White


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                           SCHEDULE A

First Name   Last Name
Rachel       White
Shane        White
Andrew       White
Barry        White
Joshua       White
Robert       White Jr
Phillip      White Jr.
Nathan       Whitehead
Luke         Whiteman
Amanda       Whitesell
Brendon      Whitfield
Jonathan     Whitlock Jr
Barbara      Whitman
Benjamin     Whitmore jr
Kathy        Whitmoyer
Michael      Whitney
Harry        Wholaver
Lance        Wieder
Harry        Wien
Kyle         Wilby
Jozef        Wilczynski
Joseph       Wilds
James        Wilhelm
Chad         Wilk
James H      Willard
Jonathan     Willard
Barry        Williams
Brent        Williams
Bruce        Williams
Caleb        Williams
Dakota       Williams
Danny        Williams
Jody         Williams
Karen        Williams
Kevin        Williams
Lewis        Williams
Ronald       Williams
Ryan R       Williams
Shawn        Williams
Timothy B    Williams
Zachary      Williams
Cheryl       Williams
Darryl       Williams


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                             SCHEDULE A

First Name   Last Name
Ryan         Williams
Shawn        Williams
Charles S    Williams III
Charles S    Williams IV
Richard      Williams Jr.
Vincent      Williams Jr.
Gary         Willman
Terry        Willoughby II
Jared        Wilson
Lorrie       Wiltrout
Douglas      Windish
Jeffrey      Windish
Kelly        Wink
Shawn        Wink
William      Wink
Joshua       Winter
Derek M      Wise
Travis M     Wise
Brett        Wise
Kyle         Wise
Ewa          Wisniewski
Cody         Wisser
Jeremy       Wisser
Peter        Witek
David        Witkus
Allison      Witman
Brett        Witman
Paul         Witman
Jeanne       Witman
Gerald       Witman, Jr.
Dean         Witmer
Brody C      Witmer II
William      Witmer III
David        Witmyer Jr.
Casey        Wittman
Chris        Wittman
Brittany     Wixon
Brandon      Wohl
Alexis       Wolf
Jason E      Wolf
Jonathon     Wolf
Joshua       Wolf
Kenneth      Wolf


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                               SCHEDULE A

First Name    Last Name
Kyle          Wolf
Michael       Wolf
Nicholas      Wolf
Steven        Wolf
Sunshine      Wolf
Franklin      Wolfe
Jennifer      Wolfe
Marylin J     Wolfe
Bryan         Wolfe
Todd          Wolfe
Avery         Wolfinger
Kyle          Woll
Richard       Wood
Andrea J      Woodall
Corey         Woodhouse
Richard J     Woods
Richard J     Woods Jr
Gary          Woolever
Marshall      Woolley
Chad          Woomer
Troy          Woomer
Travis        Worman
Stanley       Worman Jr
Benjamin      Woroniak
John          Woytkewicz Jr.
Kenneth       Wray
Gary          Wright
Jason         Wright
Malika        Wright
Bradley       Wright
Thomas        Wright III
Thomas        Wrobel
Daniel        Wrubel
Christopher   Wynns
Cris          Wynns
Lamara        Wynter
Bryan         Yale
Joseph        Yankowsky
Joseph        Yashur
Trevor        Yashur
Brian         Yeager
Charles B     Yeager
Shawn         Yeaples


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                           SCHEDULE A

First Name    Last Name
Zachary       Yeastadt
Eric          Yeboah
Michael       Yelk Sr
Richard       Yelles
Ashton        Yellets
Jeremy        Yellets
Joshua        Yellets
Craig D       Yenser
Jonathan      Yenser
Michael       Yenser
Lissette      Yepis
Luis          Yepis
Curt          Yerger
James         Yerger
Christopher   Yerger
Maribel       Ymaya
Jelissa       Ynfante
Mary Ann      Yob
Mark          Yob
Eric          Yoder
Geoffrey      Yoder
Lori Jo       Yoder
Cori          Yost
Jerry         Young
Johnathan     Young
Joshua        Young
Raymond       Young
Robert D      Young
Curtis        Young
Matthew       Young
Patricia      Young
Troy          Young
David         Young III
Bradley       Younker
Brandon       Youse
Joshua        Youse
Elvis         Ysabel
Stephen       Yuhasz
Shawn         Yuhasz
Jarred        Yurkunas
Julio         Zabala Jr
Elaine M      Zahariadis
Josue         Zambrana


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First Name   Last Name
Juan         Zambrana‐Andrad
Andres       Zambrano
Luis         Zambrano Nunez
Armando      Zambrano‐Nunez
Robert       Zammie
Antonio      Zamudio
Nicolas      Zamudio
Zachary      Zana
William      Zana
Paul         Zaorski Jr
Amilcar J    Zapata
Dixon        Zapata
Gilberto     Zapata
Victor       Zaragosa
Josue        Zaragoza‐Castro
Hector       Zarzuela
Juan         Zavala
Manuel       Zavala‐ Garcia
Jose J       Zavala‐Frutos
Manuel       Zavala‐Garcia
Juan M       Zavala‐Gonzalez
Raul         Zavala‐Gonzalez
Maria        Zavala‐Gutierre
Mario        Zavala‐Gutierre
Jesus        Zavala‐Gutierrez
Julio        Zavala‐Rivera
Jorge        Zavala‐Tinoco
Michael      Zdradzinski
Samantha     Zebert
Brandin      Zechman
Derek        Zechman
Jennifer     Zechman
Joshua       Zechman
Rebecca      Zechman
Zachary      Zechman
Rainer       Zeiber
Richard      Zeiber
Shawn        Zeiber
Jeffrey      Zeickler
Emmerich     Zelaya
Joshua       Zelko
Derek        Zeller
Paul         Zellers


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First Name    Last Name
Dwayne A      Zellner
Kelly         Zellner
Andrew        Zeltner
Joel          Zentner
Terry         Zerbe
Debra         Zettlemoyer
Dylan         Zettlemoyer
Katherine     Zglincki
Christopher   Zglinicki
Katherina A   Zglinicki
Zepeng        Zhao
Jeremy J      Ziats
Phillip       Ziegenfuse
Randy         Ziegler
Stephen T     Ziegler
Frank         Zieverink Jr.
Michael       Zimmerman
Nancy A       Zimmerman
Shawn         Zimmerman
Tammy         Zimmerman
Nathan        Zmroczek
Ibrahim       Zok
Brett         Zong
John          Zook
Deanna        Zornek
Michael       Zuber
Sarah         Zuber
Kenneth       Zuber Jr
Michael       Zumas
Ivan          Zuniga
Diane         Zuppo
Michael       Zuradzinski
Dana          Zwoyer




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